            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 1 of 126


   Herman Franck, Esq. (SB #123476)
 1 Elizabeth Betowski, Esq. (SB #245772)

 2 FRANCK & ASSOCIATES
   910 Florin Road #212
 3 Sacramento, CA 95831
   Tel. (916) 447-8400
 4 Email: franckhermanlaw88@yahoo.com

 5
     Attorneys for Plaintiffs Seng Xiong, Thao Xiong, Lor Vang, Lue Vang
 6
                                UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 8 SENG XIONG; THAO XIONG; LOR VANG;                      Case No. __________________________
   and LUE VANG
 9

10                Plaintiffs,                             COMPLAINT FOR VIOLATION OF THE
                                                          ALIEN TORT CLAIMS ACT,
11                  v.                                    INJUNCTIVE RELIEF; DECLARATORY
                                                          RELIEF; ATTORNEYS FEES; REQUEST
12 LAO PEOPLE'S DEMOCRATIC                                FOR JURY TRIAL
   REPUBLIC; PRESIDENT THONGLOUN
13
   SISOULITHIS; PRIME MINISTER
14 SONXAI SIPHANDON; SOUANSAVAN
   VI-GNAKET, MINSTER OF JUSTICE;
15 GENERAL CHANSAMONE
   CHANYALATH, MINISTER OF
16 DEFENSE; LIEUTENANT

17 GENERAL VILAY LAKHAMFONG,
   MINISTER OF PUBLIC SECURITY; DR.
18 YANG DAO
19                 Defendants
20

21
     Plaintiffs Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang hereby allege and state as follows:
22

23

24

25

26
27

28
                                                                                                     1
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 2 of 126


                                                 I.
 1                                    JURISDICTION AND VENUE
 2

 3      1. Jurisdiction in this Court is pursuant to 28 U.S.C section 1331 [Federal Question
            Jurisdiction] as these claims are based on federal law, 28 U.S.C 1350 [Alien Tort Claims
 4
            Act].
 5

 6
        2. Under the Alien Tort Claims Act, 28 U.S.C section 1350, Defendant may choose a venue
 7
            in a court most convenient to Plaintiffs. Plaintiffs choose the Eastern District of
 8
            Sacramento due to its proximity to their attorney Herman Franck, Esq.’s, Franck &
 9
            Associates, Sacramento, California office.
10

11
        3. Venue is further based on the fact that a substantial amount of the controversy
12
            occurrences and damages occurred in the Eastern District of California.
13

14

15                                                  II.
                                                  PARTIES
16

17      4. Plaintiff SENG XIONG is an individual residing in Minneapolis, Minnesota, United

18          States of America. Seng Xiong is an alien, and is not a citizen of the United States of

19          America. He was born in Royal Laos, and was formerly a citizen of the Kingdon of Laos.
20          Following the process of ending the Vietnam War, he fled Laos and arrived in Thailand,
21          where he obtained refugee status and refugee visa, allowing him to come to the United
22          States. He later obtained, and currently has a permanent resident visa for the United
23
            States.
24

25
        5. Plaintiff THAO XIONG is an individual residing in Minneapolis, Minnesota, United
26
            States of America. Thao Xiong is an alien, and is not a citizen of the United States of
27

28
                                                                                                       2
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 3 of 126



 1          America. He was born in Royal Laos, and was formerly a citizen of the Kingdon of Laos.
 2          Following the process of ending the Vietnam War, he fled Laos and arrived in Thailand,
 3          where he obtained refugee status and refugee visa, allowing him to come to the United
 4          States. He later obtained, and currently has a permanent resident visa for the United
 5
            States.
 6

 7
        6. Plaintiff LOR VANG is an individual residing in Milwaukee, Wisconsin, United States of
 8
            America. Lor Vang is an alien, and is not a citizen of the United States of America. He
 9
            was born in Royal Laos, and was formerly a citizen of the Kingdon of Laos. Following
10
            the process of ending the Vietnam War, he fled Laos and arrived in Thailand, where he
11
            obtained refugee status and refugee visa, allowing him to come to the United States. He
12
            later obtained, and currently has a permanent resident visa for the United States.
13

14

15      7. Plaintiff LUE VANG is an individual residing in Fresno, CA, United States of America,

16          within the Eastern District of California. Lue Vang is an alien, and is not a citizen of the

17          United States of America. He was born in Royal Laos, and was formerly a citizen of the

18          Kingdon of Laos. Following the process of ending the Vietnam War, he fled Laos and

19          arrived in Thailand, where he obtained refugee status and refugee visa, allowing him to
20          come to the United States. He later obtained, and currently has a permanent resident visa
21          for the United States.
22

23      8. Defendant LAO PEOPLE'S DEMOCRATIC REPUBLIC [hereinafter after “Laos”] is a
24          country in Southeast Asia.
25

26      9. Laos is sued herein because it conducted a policy to maim and terminate Hmong people.

27          They further expanded the policy to grow into a practice whereby Hmong people were

28
                                                                                                           3
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 4 of 126



 1          routinely hunted, killed, raped, mutilated, tortured, poisoning the jungle and their
 2          water/food supply.

 3

 4      10. Defendant PRESIDENT THONGLOUN SISOULITHIS is the current President of the

 5          Lao People's Democratic Republic. See US CIA country report on Laos, Attached hereto

 6          as Exhibit A, listing this defendant's position in the People's Democratic Republic of

 7          Laos as of the current time.

 8

 9      11. Defendant SISOULITHIS is sued herein in his individual for conduct he did in the past,

10          and for which he is continuing to commit, pursuant to the power vested in him as
            President of Laos.
11

12
        12. Defendant PRIME MINISTER SONXAI SIPHANDON is the current Prime Minister of
13
            the Lao People's Democratic Republic. See US CIA country report on Laos, Attached
14
            hereto as Exhibit A, listing this defendant's position in the People's Democratic Republic
15
            of Laos as of the current time.
16

17
        13. Defendant SIPHANDON is sued herein in his individual for conduct he did in the past,
18
            and for which he is continuing to commit, pursuant to the power vested in him as Prime
19
            Minister of Laos.
20

21
        14. Defendant SOUANSAVAN VI-GNAKET, Minster of Justice is the current Minister of
22
            Justice of the Lao People's Democratic Republic. See US CIA country report on Laos,
23
            Attached hereto as Exhibit A, listing this defendant's position in the People's Democratic
24
            Republic of Laos as of the current time.
25

26
27

28
                                                                                                         4
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 5 of 126



 1      15. Defendant Vi-GNAKET is sued herein because of the official program of Laos to commit
 2          atrocities against the Hmong people required a legal policy, and justice system,

 3          permitting the killing; maiming; torturing; raping; poisoning the Hmong, their jungle,

 4          their water supply, and their food supply; and that such conduct against the Hmong

 5          people did not constitute a crime under Laotian law. He is sued herein in his individual

 6          capacity for conduct he did in the past, and for which he is continuing to commit,
            pursuant to the power vested in him as Minster of Justice of Laos. The Minister of Justice
 7
            is the head of the Ministry of Justice, which is the official agency of the country of Laos
 8
            to administer law and justice in Laos.
 9

10
        16. Defendant GENERAL CHANSAMONE CHANYALATH, MINISTER OF DEFENSE is
11
            the current Minister of Defense of the Lao People's Democratic Republic. See US CIA
12
            country report on Laos, Attached hereto as Exhibit A, listing this defendant's position in
13
            the People's Democratic Republic of Laos as of the current time.
14

15
        17. Defendant CHANYALATH is sued herein because it is the Minister of Defense carried
16
            out the largely military run program against the Hmong people. The Defense Minister is
17
            the top official of the military of Laos, and directly participated in carrying out orders to
18          terminate Hmong people, including locating; killing; maiming; torturing; raping;
19          poisoning the Hmong, their jungle, their water supply, and their food supply. He is
20          further is sued herein in his individual for conduct he did in the past, and for which he is
21          continuing to commit, pursuant to the power vested in him as Minister of Defense of
22          Laos.

23

24      18. Defendant LIEUTENANT GENERAL VILAY LAKHAMFONG, MINISTER OF

25          PUBLIC SECURITY, is the current Minister of Public Security of the Lao People's

26          Democratic Republic. See US CIA country report on Laos, Attached hereto as Exhibit A,

27

28
                                                                                                            5
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 6 of 126



 1          listing this defendant's position in the People's Democratic Republic of Laos as of the
 2          current time.

 3

 4      19. Defendant LAKHAMFONG is sued herein because of the official program of Laos to

 5          commit atrocities against the Hmong people required a legal policy, and justice system,

 6          permitting the killing; maiming; torturing; raping; poisoning the Hmong, their jungle,

 7          their water supply, and their food supply; and that such conduct against the Hmong

 8          people did not constitute a crime under Laotian law. He is also sued herein in his
            individual capacity for conduct he did in the past, and for which he is continuing to
 9
            commit, pursuant to the power vested in him as Minister of Public Security. The Minister
10
            of Public Security is the head of the Ministry of Public Security, which is the official law
11
            enforcement agency of the Laotian Government.
12

13
        20. Defendant DR. DAO YANG is an individual residing in Inola, Oklahoma, the United
14
            States of America and is working at the request of and on behalf of the Lao People's
15
            Democratic Republic to spy on Hmong political activities in the United States and to
16
            report back to Laos government officials concerning their observations and intelligence
17
            collection and gathering efforts.
18
19
                                    III.
20     CONDUCT OF DEFENDANTS OCCURRING WITHIN THE TERRITORY OF THE
        UNITED STATES AND WITHIN THE EASTERN DISTRICT OF CALIFORNIA
21

22
        A. Information re Hmong Homeland-Related Entities
23

24
        21. The Plaintiffs’ Hmong Country mission was initiated in Fresno in April, 2014. We have
25
            members from Fresno, Stockton, Sacramento, California, and across the United States,
26
27          and consisted of The Hmong Business USA Corporation, Council of Hmong Public

28
                                                                                                       6
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 7 of 126



 1          Relations, and Hmong State; hmongstate.org. Members came from all walks of life,
 2          young, middle age to retirees, widows, professionals so forth.
 3

 4      22. Hmong Business USA Corporation was based in Fresno to develop Hmong Economy in
 5
            California so that the participant could help the Hmong people in Asia. It has two offices:
 6
            one in Fresno and one in New York City. Here is the following information from the
 7
            California Secretary of States’s website:
 8
            Initial Filing Date    06/07/2021
 9
                         Status    Active
10
                Standing - SOS     Good
11              Standing - FTB     Good
12            Standing - Agent     Good
13                   Standing -
14                     VCFCF       Good

15                   Formed In     CALIFORNIA
                                   Stock Corporation - CA -
16
                    Entity Type    General
17
                                   2350 W SHAW AVE
18                                 SUITE 123 FRESNO, CA
             Principal Address     93711
19
                                   4225 OBERON AVE
20                                 NORTH
              Mailing Address      HIGHLANDS,CA95660
21
              Statement of Info
22                   Due Date      06/30/2022
23                                 Individual
                                   TXUMUAKOU MOUA
24
                                   4225 OBERON AVE
25                                 NORTH HIGHLANDS,
                          Agent    CA 95660
26
27

28
                                                                                                      7
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 8 of 126


        23. The Council of Hmong Public Relations’s website [Council of Hmong Public Relations –
 1

 2          The Hmong Center Washington, DC (hmongpr.org)] describes this organization as

 3          follows:

 4          “Council of Hmong Public Relations (CHPR) is a non-profit organization that represents
 5
            the Hmong people around the globe while presenting our ongoing issues to the local,
 6
            state, or US federal governments, as well as the international community, so the Hmong
 7
            people can be better served. The mission is to better the Hmong people in the United
 8
            States and every corner around the world. Our agenda includes but not limited to the
 9

10          following committees:

11              •   Advocating for a Hmong Country in Our Ancestral Lands in Asia, Southeast Asia
12              •   Hmong Persecution and Security
13
                •   Economics and Agricultural Development
14
                •   Advancing Democracy, Human Rights, and Fundamental Freedom
15

16              •   Culture, Social Affair, and Unity

17              •   Equal Rights and Equal Justice

18              •   Analyzing Domestic, Foreign Affair Policy of the US and Congressional
19
                    Legislation
20
                •   Empowering Hmong Women and Girls
21
                •   Kameng Religion and Mengcha
22

23              •   Pahauh, Leng Kai and Ze Kai

24          Registered legally as a 501.c.4 non-profit organization in the United States, we largely
25          depend on private, charity, and corporate contributions or donations to sustain our
26
            organization and pursue our mission. As a result, if your organization is working on any
27

28
                                                                                                       8
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
            Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 9 of 126


            of the above areas or committees, which to better the Hmong people, you may qualify for
 1

 2          a grant or loan from CHPR with minimal interest rate”

 3

 4      24. See also press release by the council in the New York Chronicle entitled “Council Of
 5
            Hmong Public Relations Working Committee For The Initiative Of A Hmong Country”
 6
            dated September 25, 2023 [www.newyork-chronicle.com/news/story/389883/council-of-
 7
            hmong-public-relations-working-committee-for-the-initiative-of-a-hmong-country.html]:
 8
            “The Working Committee will focus on the promotion and preservation of the Hmong
 9

10          religion, Kamen, the dissemination of the Hmong written alphabet, Pahauh, designing the

11          National Flag, promote cultural identity, and pursue the right of self-determination.
12          With the establishment of a new office in New York, the Hmong Nation, in due time, will
13
            submit the Hmong Country Application to the United Nations General Assembly,
14
            relevant Agencies of the United Nations to become Member State securing its place in
15
            the family of nations. As a Member State of the United Nations, the Hmong people and
16

17          Nation shall honor and fulfill their international obligations, safeguard human rights and

18          maintain international peace and security.”

19

20      25. With regards to Hmong State, its website states as follows [hmongstate.org]:
21          “Hmong State is a non-profit organization based in the United States that strives hard to
22
            protect the Hmong people, who have been prosecuted in Asia continuously since the end
23
            of the Vietnam War in May 1975.
24
            We peacefully fight against the communist’s perpetration, operation, and infiltration in
25

26          the Hmong communities across the United States and oversea, while seeking a sovereign

27

28
                                                                                                         9
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 10 of 126


            state (a country) where the Hmong people can continue to live freely and peacefully like
 1

 2          other ancient and indigenous peoples.

 3          The Hmong people declare to be free from the communists’ political ideology,

 4          philosophy, or propaganda by declaring ourselves to be free from the communists’
 5
            domination, occupation, persecution, and genocide in our ancestral lands in Asia.
 6
            We also reserve the right to be free and independent as we are actively pursuing a self-
 7
            government that will enable us to continue to expand, sustain, and maintain our unique
 8
            identity, culture, heritage, and history.
 9

10          Additionally, we are proud to strictly follow, embrace, and share the United Nation’s

11          Charter and Articles in creating peace and security around the globe, as well as its
12          “Transforming our world” Agenda from 2015-2030.
13

14
        26. The following information about the Hmong State is found on the California Secretary of
15
            States’s website:
16

17       Initial Filing Date    09/19/2023

18
                     Status     Active
19
            Standing - SOS      Good
20
            Standing - FTB      Good
21
          Standing - Agent      Good
22
                 Standing -
23                 VCFCF        Good
24               Formed In      CALIFORNIA
25                              Nonprofit Corporation -
26              Entity Type     CA - Public Benefit

27

28
                                                                                                       10
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 11 of 126



 1                             1401 21ST ST STE R
                               SACRAMENTO, CA
 2       Principal Address     95811
 3                             4903 E KINGS CANYON
                               ROAD SUITE 271
 4        Mailing Address      FRESNO,CA93727
 5        Statement of Info
                 Due Date      09/30/2025
 6
                               1505 Corporation
 7
                               REGISTERED AGENTS
 8                    Agent    INC

 9 Its Articles of Incorporation were filed on September 19, 2023; and its Statement of Information

10 was filed on September 26, 2023.

11

12      B. Information re Dr. Yang Dao
13      27. Dr. Yang Dao has been working in the capacity of a spy for Lao PDR since at least the
14
            period 2007 through to the present, and is expected to continue to work as a spy for the
15
            Laos PDR. His work as a spy has taken place and continues to take place in the Fresno,
16
            CA area, where many Hmong people live and reside, in the St. Paul Minnesota are, where
17
            many Hmong people reside, and in Washington, DC where he reports his information
18
            obtained through his spying activities to the Laos PDR government at its embassy in
19
            Washington, DC. His spying activities also take place in his current place of residence in
20
            Inola, Oklahoma.
21

22

23      28. About the case against Vang Pao and 11 Hmong individuals back in 2007, we are not

24          sure how much or if Dr. Yang Dao played any role. Dr. Yang have many Hmong

25          individuals covertly working for him to infiltrate political organizations and pass it along

26          to the Lao Embassy in Washington as well as US Department of State.

27

28
                                                                                                       11
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 12 of 126



 1      29. Many Hmong organizations, individuals that have connections with Dr. Yang Dao,
 2          associate with Dr. Yang Dao, followers of Dr. Yang Dao are all anti our Hmong Country
 3          Mission.
 4

 5
        30. A summary of internet publications about
 6
            1.Wikilinks re Dr. Yang Dao:
 7
            www.wikileaks.org/plusd/cables/07VIENTIANE487_a.html
 8
            6 pages
 9
            Pages of interest
10
            Page 1, summary:
11
            “The politics of the Hmong communities in both Laos and the United States
12
            are extremely complex. As a result, a conversation with even a well educated
13
            Hmong (or Hmong-American) leader involves exaggeration and guess work
14

15          and often raises more questions than it provides answers. Nevertheless, a

16          recent conversation with Hmong-American leader Dr. Yang Dao raises

17          several issues that may be worth pursuing. D r. Yang Dao also asks for

18          police/FBI protection before agreeing to address a Hmong -American

19          gathering in Fresno, California. Since he may be in possession of important,
20          time-sensitive information and seems to be willing to pass a positive message
21          -- that Hmong-American support for attempts to destabilize the Lao
22          Government violates U.S. laws -- the FBI may have interest in contacting
23
            him, and the Department may have an interest in supporting the
24
            dissemination of this message. Dr. Yang Dao asks the Department to write
25
            letters directly to Hmong groups in the United States to repeat this message.
26
            Please see our action requests in paragraph 13 .”
27

28
                                                                                                     12
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 13 of 126



 1          The Wikileaks article shows entries from official United States records as of June 11,
 2          2007.
 3

 4          2. Article from Communist Party of Vietnam online newspaper

 5          https://en.dangcongsan.vn/overseas-vietnamese/overseas-vietnamese-professor-recalls-

 6          memories-about-president-ho-chi-minh-597505.html
 7
            Pages of interest:
 8
            Page 2:
 9
            “Prof. Dr. Yang Dao also expressed emotion when recalling the first time he visited Uncle
10
            Ho's Mausoleum and, like other Vietnamese far from home, he always remembers Uncle,
11

12          hoping to have the opportunity to return home every year and visit Uncle Ho's Mausoleum.

13          His family belongs to H’Mong ethnic minority in Meo Vac District, Ha Giang Province.
14          He was the first H’Mong ethnic minority person to receive a doctoral degree in social
15
            sciences from the Sorbonne University, France. After that, he and his family moved to live
16
            and work in Minnesota, the US.
17
            He taught Southeast Asian anthropology at the University of Minnesota, Minnesota, until
18
19          retirement. He has always made active contributions in uniting the H'Mong community and

20          the Vietnamese community in order to promote the national cultural identity and connect

21          people with the homeland./.
22

23
            3. Article from AsianFuse.net
24
            https://asianfuse.net/discuzz/threads/yang-dao.30861/
25
            The article has excerpts of a community chat forum that has content oabout Dr. Yang Dao’s
26
27          status as a Lao spy working in the United States, as seen by the following entry.

28
                                                                                                     13
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 14 of 126



 1          Pages of interest: page 3
 2          “tavang sarNie Juvenile
 3          he's 100% vietnamese. he's not even hmong. i don't hate him cuz he's viet. i hate him cuz
 4          he's working with the laos government and all trying to ruined us hmong peeps and he's
 5
            a TRAITOR!!! he was lucky enough that a hmong family took him in as their child
 6
            when no one else wanted him and this is what us hmong peeps get? it's just messed up.”
 7

 8
            4. YouTube Video:
 9
            https://youtu.be/GW5lm9PbgRk?si=VSbDa4WQG2UyWOnh
10
            "Dr.Yang Dao Communist Spy receiving a Certificate Award from the Government of
11
            Lao PDR in Vientiane"; 10:15 in duration.
12
            Description of YouTube:
13
            The video showed all the Lao and Hmong individuals overseas who worked for the Lao
14

15          government [names unknown to plaintiffs]. These operatives are working in Fresno, CA

16          and St. Paul, Minnesota, and Washington D.C., and other locations, and continue through

17          to the date of the filing of this complaint to operate as spies for Laos. The persons

18          receiving the awards are not seen making any speeches, only the person that make the

19          video does the talking.
20          There are two Hmong individuals also appeared on the video. One is George Vue in
21          Fresno, CA and the other one is Chao Lee from the Twin Cities and he is staff member of
22          US Congresswoman Betty McCollum Office. However, the video did not show they
23
            receive any awards. We all believed they are the network of Dr. Yang Dao political
24
            operatives.
25
            The video was filmed in Vientiane Laos in 11/16/2010.
26
27

28
                                                                                                     14
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 15 of 126



 1          The video also shows other US-based Laos PDR spy operatives. The names and identities
 2          of which are not known to plaintiffs, also receiving recognition for good service.
 3

 4          5. Further Youtubes:
 5
             "NEO LAO SANG XAT MEDAL DECORATION TO LAO-OVERSEAS 1.mpeg" on
 6
            YouTube, https://youtu.be/PoHGsOFIxLM?si=uoQGxizadUc6AoSa
 7
            8:43 mins
 8
            A summary of this video is as follows:
 9
            The video shows defendant Dr. Yang Dao and other Lao PDR USA-based spries
10
            receiving awards and recognition for their good service.
11

12
            6. “Dr. Yang Dao of Neo Lao Sang Xat, Communist Agent”
13
            https://youtu.be/Ihw4TBs6Sqc?si=7WmfGCavkEIiozzF
14

15          1:00 min

16

17      31. See also Seng Xiong’s testimony given 9.23.22 during the merits hearing on his

18          application for protection under the convention against torture before the United States

19          immigration court El Paso Texas hon. Michaels Pleters, judge presiding, pages 39-45.
20

21      32. A further incident that occurred within a territory of the United States was the institution
22          of a fake fraudulent criminal action brought by the US Attorney's Office in the Eastern
23
            District of California against a group of Hmong individuals including Nia Vang and
24
            General Vang Pao entitled United States v. Harrison Jack, et al, E.D.Cal., Case No. CR
25
            07-266 FCD. Following a series of court-ordered dismissals of some of the claims, the
26
            US Attorney made the decision to dismiss the entirety of the remaining undismissed
27

28
                                                                                                       15
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 16 of 126



 1          charges. Following those events, some of the defendants in that case including plaintiff
 2          Nhia Vang filed a malicious prosecution case against the United States of America by
 3          conduct of its undercover operator Stephen Decker of the ATFE, for knowingly
 4          prosecuting a complaint that was based on a pack of lies.
 5

 6
        33. That civil malicious prosecution case was dismissed by the trial court in the Eastern
 7
            District of California upon findings at the US Attorney's decision to dismiss the
 8
            underlying criminal case did not reflect on the substantive merits of whether the
 9
            defendants were in fact guilty or not, but was done instead for other policy and related
10
            issues.
11

12
        34. In the malicious prosecution case, the case was dismissed early on and appealed to the
13
            Ninth Circuit Court of Appeals, which reversed the dismissal and remanded it to the trial
14

15          court for further proceedings. On remand, the trial court issued an order dated August 20,

16          2015, instructing the US Attorney's office to give a statement as to why it dismissed the

17          action, and if that dismissal was based on the substantive merits showing that the

18          plaintiffs in the malicious prosecution case were actually innocent of the charges, or were

19          dismissed due to other non-substantive issues.
20          The Order states at page 2, lines 18-21:
21          “Therefore, IT IS HEREBY ORDERED that, within fourteen (14) days of the date this
22          Order is electronically filed, Defendants shall file a brief addressing whether the charges
23
            against Plaintiffs were withdrawn on the basis of a compromise among the parties or for a
24
            cause that was not inconsistent with Plaintiffs’ guilt.”
25

26
27

28
                                                                                                        16
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 17 of 126



 1      35. The United States/Defendants did submit a brief, a copy of which is attached hereto as
 2          Exhibit B. The brief states at Page 2, lines 6-10:
 3          “On August 20, 2015, this Court, pursuant to the Ninth Circuit’s instructions on remand,
 4          ordered Defendants to address whether the charges in the underlying criminal
 5
            prosecution, United States v. Harrison Jack, et al, E.D. Cal., Case No. CR 07-266 FCD
 6
            (“Jack”), were withdrawn on the basis of a compromise among the parties or for a cause
 7
            that was not inconsistent with Plaintiffs’ guilt.2 Dkt. No. 48.”
 8

 9
        36. The Government’s brief [Exhibit B] goes on to state at Page 2, lines 11-14:
10
            “As demonstrated in the accompanying declaration of United States Attorney Benjamin
11
            B. Wagner (“Wagner Decl.”), despite probable cause and evidence that Nhia Kao Vang,
12
            David Vang and Chue Hue Vang (the “Vang Plaintiffs”) 3 committed the remaining
13
            crimes with which they were charged, the United States dismissed the Jack prosecution
14

15          based on factors unrelated to the merits. Through its rulings and comments, the court

16          revealed a remarkable hostility to the government’s case. See Wagner Decl., ¶ 4. The

17          criminal defendants also alleged agent and prosecutorial misconduct, raising a risk of a

18          negative credibility finding and suppression of evidence. See id. at ¶ 5-6. Going forward,

19          the case would require a significant number of personnel, trial would be fiercely
20          contested and any sentences imposed would likely be low. See id. at ¶ 7-8. As a result,
21          U.S. Attorney Wagner weighed the costs and benefits of pursuing the case, and
22          determined that no substantial federal interest was served by continued prosecution. See
23
            id.at ¶ 3, 9. None of these reasons for dismissal, however, are inconsistent with the guilt
24
            of the Vang Plaintiffs. Accordingly, Plaintiffs cannot maintain a claim for malicious
25
            prosecution.”
26
27

28
                                                                                                          17
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 18 of 126



 1      37. The government explained its contention that the underlying criminal case was not
 2          dismissed as follows [Exhibit B, Page 3, lines 7- page 4, line 6]:
 3          “In December, 2010, after three years of litigation, U.S. Attorney Wagner recommended
 4          dismissal of the Jack prosecution to the United States Department of Justice’s National
 5
            Security Division (“NSD”) because, given the circumstances, no substantial federal
 6
            interest would be served by continued prosecution. See Declaration of Benjamin B.
 7
            Wagner (“Wagner Decl.”), ¶ 3. U.S. Attorney Wagner made this recommendation, as a
 8
            discretionary matter, for a combination reasons, including the following. Id.
 9
            First, the court made a series of adverse rulings, vigorously opposed by the United States,
10
            suggesting it was markedly hostile to the government’s case. See Wagner Decl., ¶ 4. At
11
            the same time, the court gave defendants extraordinary leeway in litigating the case. Id.”
12
            Second, the criminal defendants alleged the wiretap, search warrant and complaint
13
            affidavits submitted by the undercover agent contained incriminating statements falsely
14

15          attributed to former defendant General Vang Pao, and failed to disclose certain facts. See

16          Wagner Decl., ¶ 5. Although U.S. Attorney Wagner believed the agent acted in good

17          faith, he had never testified in a contested court hearing or trial. Id. The upcoming Franks

18          hearing raised the possibility that the agent would be subject to vigorous cross-

19          examination regarding his alleged errors, the criminal defendants would suggest he was
20          unreliable among other things, and the court would enter a negative credibility finding,
21          especially given its previous expressed views about the case. Id. Because this agent was a
22          critical prosecution witness, such a finding would be damaging beyond its impact on the
23
            pretrial motions. Id.
24
            Third, the criminal defendants alleged that the prosecutors engaged in misconduct. See
25
            Wagner Decl. at ¶ 6. Although U.S. Attorney Wagner believed that all personnel acted in
26
            good faith, prosecutors and agents inadvertently committed a technical violation of the
27

28
                                                                                                       18
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 19 of 126



 1          60-day search warrant deadline relating to computer searches. Id. This inadvertent error
 2          created a risk of suppression. Id.
 3          Fourth, the United States faced a fiercely contested trial and considerable litigation on
 4          evidentiary issues. See Wagner Decl. at ¶ 7.
 5
            Fifth, even if the United States prevailed, the court was likely to impose minimal
 6
            sentences. See Wagner Decl. at ¶ 8.
 7
            Finally, taking all of these factors into consideration. U.S. Attorney Wagner performed a
 8
            cost/benefit analysis.”
 9

10
        38. The Government concluded as follows [Exhibit B, Page 6, lines 13-21]:
11
            “As demonstrated by U.S. Attorney Wagner’s declaration, the United Stated did not
12
            dismiss the Jack prosecution because the remaining charges against the Vang Plaintiffs
13
            lacked merit. The United States had evidence that the Vang Plaintiffs had committed the
14

15          remaining crimes with which they were charged, and made no compromise to dismiss

16          them. See Wagner Decl., ¶ 11, 12. Instead, it ended the prosecution because the costs of

17          pursuing the Jack case outweighed the benefits. Id. at ¶ 3-9, see also Deal v. Alegre, 2006

18          WL 436144 at *4 (N.D. Cal. Feb. 21, 2006) (a dismissal in the interests of justice was not

19          inconsistent with guilt where an essential witness was unavailable, the accused had
20          served his sentence and had a prior conviction). Accordingly, the dismissal was not
21          inconsistent with the Vang Plaintiffs’ guilt, and as a result, Plaintiffs cannot maintain a
22          malicious prosecution action.”
23
        39. The true facts were stated and described in the Appellants Vang et al.’s Appellants’
24
            Openign Brief to the US Court of Appeals for the Ninth Circuit, Appeal No. 16-15443,
25
            excerpts of which are attached hereto as Exhibit C.
26
27

28
                                                                                                          19
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 20 of 126



 1      40. The point of showing all of these deceits lies and trickeries in the federal prosecution of a
 2          group of defendants, including General Pao, is that it all came from Lao People's
 3          Democratic Republic spies operating in the eastern district of California to bring down
 4          any Hmong person that was associated with the US secret war in Laos. All of the
 5
            defendants in that case had family members directly involved in the secret war against
 6
            Laos. For example, Nhia Vang’s father was employed by the USA-CIA and died fighting
 7
            for the USA.
 8

 9
        41. The USA government turned on all these people based on a bunch of lies told to them by
10
            Laotian spies, and brought a bogus prosecution against all of them, which they later had
11
            to abandon under a bunch of false claims that it was based on the interest of justice. In
12
            fact, it was based on the fact that there was no evidence to support the crimes alleged, and
13
            they had to dismiss the criminal case based on lack of evidence. The evidence was that
14

15          US government officials ask Hmong people to get involved in a war against Laos, and

16          then turned around and charged those among people with unlawful waging of a war

17          against a friendly country.

18
19      42. The facts of that case are shown here to give another example of conduct of the Lao
20          People's Democratic Republic in their campaign against Hmong people that occurred
21          inside the territory of the United States of America, thus invoking jurisdiction of the
22          United States courts over the Alien Tort Claims Act claims asserted herein.
23

24
        43. The Ninth Circuit Court of Appeals affirmed the trial court’s dismissal of the malicious
25
            prosecution action, notwithstanding the obviously material issues of fact regarding what
26
            really happened. Instead, both the trial court and the Court of Appeals loyally accepted as
27

28
                                                                                                        20
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 21 of 126



 1          100% true everything that the US Attorney’s Office stated about its dismissal of the
 2          underlying criminal action.
 3

 4      44. The falsity of the wire fraud and mail fraud claims brought in the criminal case against
 5
            plaintiff Seng Xiong, also described in the first claim for relief below, are further shown
 6
            by the fact that there was actually not a single victim witness that was brought forward
 7
            during the trial of the action. The only person who came forward was actually Souk
 8
            Thao, the son of an alleged victim, and a California state police officer. His father, Sao
 9
            Thao, was a donor to the Hmong homeland program. Souk Thao, the son who testified,
10
            was not a donor and was thus not a direct victim.
11

12
        45. Souk Thao testified that he worked in Riverside County, and his father, donor Sao Thao
13
            resides in Cherry Valley, Riverside County, CA.
14

15

16      46. To further show the falsity of that claim the US attorney took approximately $1.2 million

17          in funds from a bank account that was collected-up from donors who were attempting to

18          fund the process of buying land to create a Hmong homeland.

19

20      47. Plaintiff's counsel obtained a series of 121 declarations from these so-called victims, in
21          which they made it clear under oath that they were not victims at all, and that they
22          provided money to bring forward a Hmong homeland. An exemplar declaration of one of
23
            these witnesses, Cher Pao Xiong, is attached to this complaint as Exhibit D. The
24
            following is a list of all of the witnesses of people the US Attorney refer to as victims,
25
            who in fact were not victims at all:
26
27

28
                                                                                                         21
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 22 of 126



 1                  1. Shue Xiong, 2. Nao H. Xiong, 3. Lao Thao, 4. Cheng Xiong, 5. Chue Ge
 2                  Vang, 6. Vue Lee, 7. Gacheng Yang, 8. Waseng Xiong, 9. Zong Kai Xiong,
 3                  10. TK Lee, 11. Sao Thao, 12. George Yang, 13. Wayer Moua, 14. Kao
 4                  Lee, 15. Koua Moua, 16. Ter Yang, 17. Zong Koua Moua, 18. Youa Doua
 5
                    Yang, 19. Lee Her, 20. Sia Xiong, 21. Chai Thao, 22. Cher Pao Xiong, 22.
 6
                    Ger Vang, 23. Gee Vang Lor, 24. Wilson Vang, 25. Kai Vang, 26. Cha
 7
                    Moua Vang, 27. Charz Sang Xiong and Bee Yang, 28. Thongdy Vang, 29.
 8
                    Yer Xiong, 30. Vamdernt Lee, 31. Vue S. Vang, 32. Chao Lee, 33. Chang
 9
                    Pao Xiong, 34. Cher Thao, 35. Nhia Xiong Yang, 36. Yao L. Thao, 37. Fai
10
                    Lao Vang, 38. Chad Thao, 39. Cher Pao Vang, 40. Nancy Lee, 41. Ger
11
                    Vang, 42. Boua Vang, 43. Ye Vang, 44. Youa Vang, 45. Lee Pao Xiong,
12
                    46. Willy Vanh, 47. Cha Ye Xiong, 48. Lee Kue, 49. Nhia X. Lee, 50. Kia
13

14                  Lee, 51. Chongchee C. Wange, 52. Leng Chang, 53. Cheng Chang, 54.

15                  Brong Lor, 55. Fong Moua, 56. Richard Lee, 57. Toua Xiong, 58. Pa Zao

16                  Her, 59. Mai Nhia Lee, 60. Nhia Chao Her, 61. Bee Lor, 62. Chang Vang

17                  and Chia Neng Vang, 63. Poua Yang Thao, 64. Chang Yang and Pang
18                  Xiong Yang, 65. Fu Jay Yang, 66. Vong Houa Xiong, 67. Cher Thao and
19                  Nhia Xiong Yang, 68. Koua Khang, 69. Zoua Xiong, 70. Songher Her,
20                  71.Wa Seng Her, 72. Wechai Moua, 73. Thao Xiong, 74. Peter Z. Thao, 75.
21                  Houa Thao and Xia Yang, 76. Bobby Joe Yang, 77. Yia Yang, 78. Hue
22                  Yang, 79. Chiato, 80. Yur Yang, 81. Charles Cheu Yang, 82. Cheryong
23
                    Thao, 83. Boua Lee Lor, 84. Sang Moua, 85. Wilson C. Vang, 86.Sai Her
24
                    Xiong, 87. Ka C. Xiong, 88. Chong Veng Moua, 89. Tomsing Her, 90.
25
                    Khua Jer Vang, 91. Yayoashi Her, 92. Ngia Her, 93. Youa Pao Hang, 94.
26
                    Shong Xiong, 95. Kou Xiong, 96. Pengsue Lee, 97. Ge Lee, 98. Charles
27

28
                                                                                                     22
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 23 of 126



 1                  Xiong and Melinda Xiong, 99. Der Xiong, 100. Thong Lee, 101. Harry Xai
 2                  Lee, 102. Bee Yang, 103. Der Xiong, 104. Frederic Vang, 105. Helene
 3                  Vang, 106. Jong Lue Yang, 107. Ka Vang, 108. Koua Xiong, 109. Mai H.
 4                  Vang, 110. Pao Ge Xiong, 111. Parher Yang, 112. Peter Lee, 113. Sor
 5
                    Vang, 114.Thai Sau Ly and A Seng Thao, 115. Xe Lor, and 116. Zong Paul
 6
                    Vang, 117. Nhia Xiong Thao, 118. WaChore Yang and Shong Vang; 119.
 7
                    Lee Pao Vang, 120. Houa Xiong, and 121. Sao Thao.
 8

 9

10      48. The statement set forth in Exhibit D include the following statement of facts:

11          “2. I recently received a check from the United States government purporting to be
12
            restitution as a result of the USA’s case against Seng Xiong [United States District Court,
13
            District of Minnesota Case No. 16-CR-167(SRN)] from the funds collected by Hmong
14
            Tebchaws. I wish to return these funds back to the USA and with instructions to keep all
15

16          those funds together so that Hmong Tebchaws may use those monies to purchase lands to

17          be arranged for hopefully in Thailand, but somewhere on this Earth that we will then call

18          a Hmong homeland.
19
            3. I am not a victim of any sort in this case. At no time did I believe or ever say that Seng
20
            Xiong somehow tricked or defrauded me.”
21

22
        49. The list of 121 donors to the Hmong country campaign describe above include a
23

24          substantial number of donors [at least 9 out of the 121] that came from Fresno and other

25          locations within the Eastern district of California.

26
27

28
                                                                                                       23
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 24 of 126


        50. A further falsity uncovered by plaintiff council is the bizarre fact that the US Attorney
 1

 2          having committed its own fraudulent conduct in seizing the bank account of the Hmong

 3          country effort, failed to actually pay it back to the donors. We have collected up 60

 4          declarations by donors who never got their money back/all of their money back. Attached
 5
            hereto as Exhibit E is an exemplar statement made by donor Pao Xiong, who states
 6
            therein:
 7
            “I, Pao Xiong, had contributed to Mr. Seng Xiong prior to his arrest in March 2016 in the
 8
            amount indicated below. While the Court would not return my contribution to Mr. Xiong,
 9

10          I request that it be sent to me so I can do whatever I want with the fund.

11          Total amount of contribution to Mr. Seng Xiong         $1,855.00
12          Total amount I have received from the Court/DOJ $560.00
13
            The amount of restitution to be sent back to me        $1,295.00”
14

15
        51. The following list of individuals are donors who put money in that was taken in the
16
            prosecution of Mr. Seng Xiong, and kept in trust by the US attorney, and never returned
17
            back to these donors:
18
19          1. America Vang
            2. Boua Lee Lor
20          3. Brandy Xiong
            4. Cha Her
21          5. Cha Moua Vang
            6. Cha Vang
22
            7. Cha Xue Lee
23          8. Chang Chai Vang
            9. Chao Lor
24          10. Chao Vang
            11. Charles Xiong
25          12. Charlie Xiong
26          13. Cheng Xiong
            14. Cher Pao Vang
27          15. Chong Sao Vang

28
                                                                                                        24
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 25 of 126


            16. Chong Vang
 1          17. Fai Lao Vang
 2          18. Francois Vang
            19. Harry X. Lee
 3          20. Her Pao Vang
            21. Jeff P. Xiong
 4          22. John T. Xiong
            23. Jong Lue Yang
 5
            24. Ka Vang
 6          25. Khaisu Xiong
            26. Kue Lee
 7          27. Lee Pao Xiong
            28. Lor Vang
 8          29. Lou Tou Yang
            30. Luc Ya
 9
            31. Maiyia Xiong
10          32. Mee Lor
            33. Nao Chu Heu
11          34. Nao Hue Xiong
            35. Neng Xiong
12          36. Neng Yang
            37. Nhia X Lee
13
            38. Nou C. Yang
14          39. Pao Xiong
            40. Pao Xiong
15          41. Phia Yang
            42. Prentice H. Vaj
16          43. Sai Her Xiong
17          44. Sao Thao
            45. Seeh Xiong
18          46. Shoualou Yang
            47. Sia Xiong
19          48. Sor Vang
            49. Soua Xa Yang
20          50. Tong Pao Lee
21          51. Toua Lee
            52. Toua Xiong
22          53. Tria Xiong
            54. Vang Yang
23          55. Victor J. Xiong
            56. Wilson C. Vang
24          57. Xao L Thao
25          58. Yang Her
            59. Youa Vang
26          60. Zong Paul Vang

27

28
                                                                                                     25
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 26 of 126


        52. The list of 60 donors to the Hmong country campaign who provided declarations
 1

 2          described above indicating that they had not received the restitution payment, include

 3          substantial number of donors [10 out of 60] from Fresno, CA and other locations within

 4          the Eastern District of California.
 5

 6
        53. Due to the federal criminal law process in limitations on post judgment relief, the issues
 7
            regarding the total lack and absence of a real victim in the case never got heard on their
 8
            merits, and instead were summarily rejected based on a failure to raise them on the first
 9

10          round of post-judgment challenges. The issues about the restitution and the collection up

11          of funds the amount of the restitution, and whether or not the amount was properly
12          distributed or not, likewise never got to see the light of day due to restrictions on
13
            challenging restitutionary judgments.
14

15
        54. Because of those restrictions under federal law, not only could Seng Xiong not challenge
16

17          the lack of an actual recipient victim witness giving testimony against Seng Xiong

18          (literally zero were brought forward by the US attorney), and the notion that the so-called

19          victims were not victims at all, never considered themselves victims, and were instead
20          earnest donors in hopes of creating a collective fund sufficient enough to buy a piece of
21
            land somewhere to be a Hmong homeland was never able to be litigated either on the
22
            merits in the trial court and/or in any appellate procedure. It remained buried under
23
            federal criminal law procedure that limits defendants’ ability to challenge convictions to
24

25          basically one shot at that, and these issues were not raised in that one shot. As a result,

26          these issues were never litigated on the merits and never saw the light of day. They are

27

28
                                                                                                          26
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 27 of 126


            thus asserted here as claims that have not been decided on the merits, and should be
 1

 2          placed here at issue on the issue of the court's jurisdiction to permit and authorize this

 3          Alien Tort Claims Act based on activities of Lao PDR spies creating these bizarre

 4          criminal cases that were done in an entirely fraudulent and false manner based on false
 5
            information provided by Lao PDR spies acting in the United States.
 6

 7
        55. The falsities embedded into the criminal prosecutions that occurred in Sacramento and in
 8
            Minnesota are flagrant, eminently, provable and show the impact of the behavior of the
 9

10          Lao PDR spies operating inside the territory of the United States of America.

11

12      56. In addition to Defendant Yang Dao, Plaintiffs are aware of the names of at least two
13
            others such Lao PDR spy operatives working inside the territory of the United States to
14
            collect information concerning Hmong political activities and reporting that information
15
            back to Laos PDR officials: George Vue, and Dr. Sam Thao.
16

17

18      57. These Laos PDR directed spying activities in the USA occur at a substantial level in

19          Fresno, California and other locations within the Eastern District of California.
20

21
        58. In Seng Xiong’s criminal case in Minnesota, Defendant Dr. Yang Dao had publicly
22
            warned Seng Xiong and his group that they must stop and cease any activities in the
23
            pursuit of a Hmong Country because there is no laws allowing the Hmong People to have
24
            a Country. Dr. Dao further said and told the US government, US Prosecutor's Office, St.
25

26          Paul Police Officers, and US Secret Service that there is no place, no land left anywhere

27          in Southeast Asia or Asia for Hmong to have a country. Therefore, he argued that Seng
28
                                                                                                         27
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 28 of 126


            Xiong’s mission to establish a Hmong Country is fraudulent, and those supporting the
 1

 2          Mission by voluntary donating money to the Mission are victims.

 3

 4      59. All these things are untrue and lies given by Dr. Yang Dao. Furthermore, Dr. Yang Dao
 5
            had lobbied Steve Moua (a key witness in the criminal) to work and cooperate with him.
 6

 7
        60. One of other things that the US Prosecutor in Minnesota told Seng Xiong’s lawyer Allan
 8
            Chaplain that the real reason the US government decided to arrest Seng Xiong was that
 9

10          he sold 10 acres of land in a foreign country, which is a lie told to US Prosecutor Office

11          by Hmong Attorney Sia Lor in Minnesota.
12

13
        61. Dr. Yang Dao has thus recruited many Hmong intellectuals, Veterans of the old NeoHom
14
            people, General Vang Pao's sons to work with him to stop Seng Xiong’s mission.
15

16
        62. A reasonable inference of the facts in light of what we know about what they did in the
17

18          Minnesota case against you is that it was the result of Laos PDR spy operatives in the

19          USA working with USA law enforcement to bring about false claims and false charges

20          against politically-active Hmong individuals.
21

22

23

24

25

26
27

28
                                                                                                         28
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 29 of 126


                                    IV.
 1     EVIDENCE AND FACTS REGARDING THE SYSTEMATIC CAMPAIGN BY THE
 2   LAO PEOPLE’S DEMOCRATIC REPUBLIC AND ITS TOP OFFICIALS TO COMMIT
     A GENOCIDAL CAMPAIGN TO ELIMINATE HMONG PEOPLE WHOSE FAMILIES
 3     WERE CONNECTED TO THE USA SECRET WAR IN LAOS; AND TO COMMIT
           WAR CRIMES INCLUDING VIOLATION OF A PEACE TREATY, AND
 4       COMMISSION OF MULTIPLE ACTS OF TORTURE, MURDER, RAPE, AND
                     DISEMBOWELMENT OF HMONG PEOPLE
 5

 6
        63. Plaintiffs cite the following evidence to show the undeniable fact that since
 7

 8          approximately 1972, up and through to and the present and continuing, the Lao People's

 9          Democratic Republic, following the 1973 Peace treaty that ended the Vietnam War, has

10          instead of conducting a peaceful country, decided to engage in a genocidal campaign

11          against Hmong people whose family members were associated with the USA “secret

12          war” in Laos. Laos has committed a genocide against Hmong people that still continues

13          to this day; it has violated the peace treaties and has committed a series of war crimes
14          including the massacre en masse of Hmong people living in the jungles of Laos; the
15          sexual assault and rape of women in Loas; and the torture, mutilation, and
16          disembowelment of Hmong people in Laos.
17

18
        64. As part and parcel of that generalized campaign, Laos has also combatted any effort by
19
            the Hmong people to escape loud and/or to establish their own safety areas, including a
20
            Hmong homeland.
21

22
        65. Each of the plaintiffs in this action have family members that were associated with and
23
            worked with the US CIA's secret war in Laos by having family members serve as soldiers
24
            in that secret war. As a consequence of that family involvement, the plaintiffs’ immediate
25

26          family members have been murdered and eliminated by Laos.

27

28
                                                                                                       29
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 30 of 126



 1      66. The Plaintiffs themselves have been forced to flee Laos, as they cannot have any kind of
 2          life there. The plaintiffs were born in Laos, and were citizens of the Royal Laos Nation,
 3          but are people to be simply tortured and eliminated to the Lao PDR. Each of the plaintiffs
 4          in this action are individuals who have worked toward a project in the USA to establish a
 5
            homeland for Hmong people in some location on this world, and as such have a
 6
            reasonable expectation of economic and security benefit from the establishment of a
 7
            Hmong country somewhere. That country could exist if things got organized in Laos, but
 8
            right now there's no way Hmong people can do anything of the sort in Laos. That Hmong
 9
            homeland could exist in Thailand, where some of the lands that used to belong to Laos
10
            were ceded over to Thailand in the northern parts of Thailand and could be turned into
11
            Hmong country land. That land could also be created with the agreement of the
12
            Philippine government in the country of Philippines. That land for Hmong people could
13
            also be established in the United States, if the United States were agreeable and could
14

15          create homeland for Hmong people, in a similar way that the USA has created sovereign

16          lands for the Native American populations.

17

18      67. Laos, however, has stopped the progress of the Hmong Homeland campaign by putting

19          spies in the USA to report on Hmong Homeland political activity and other political
20          activity which plaintiffs have been directly involved in. As a result of the USA-based
21          spies, the Homeland campaign has been deeply disturbed, delayed, and trampled, but is
22          by no means over.
23

24
        68. Plaintiffs are still currently engaged in the establishment of a Hmong homeland, and will
25
            suffer irreparable harm unless some form of injunctive relief requiring Laos to stop the
26
            atrocities they are committing against the Hmong people and against plaintiffs in this
27

28
                                                                                                        30
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 31 of 126



 1          action, and to stop the campaign against the establishment of Hmong homeland, and/or
 2          such other injective relief as the Court deems just and appropriate, is granted.
 3

 4      69. Here are the facts and evidence of the atrocities committed by Laos officials including the
 5
            defendants sued individually in this action.
 6

 7 Series of News Obtained by Plaintiffs Discussing the Atrocities Committed by the Laos
   Officials, including the Individual Defendants Sued in this Matter
 8

 9
        70. Plaintiffs have collected up a series of press articles published online, which include the
10
            following titles and quotations from the articles. Each of these articles show the
11
            undeniable truth that the Laos government, including the individuals sued herein, are
12

13          guilty of committing these terrible atrocities against the Hmong people:

14          1. “Amnesty International Says Lao Soldiers Killed and Mutilated Hmong Children -

15              2004-09-14”, October 29, 2009 [www.voanews.com/a/a-13-a-2004-09-14-6-amnesty-

16              67363002/382447.html], page 2: “Human rights groups accuse the government and

17              military of abuses against the ethnic Hmong, committed as the government tries to
18             wipe out the rebels.”
            2. “Hmong: New Deadly Attack Launched by Laotian Military”, May 12, 2020
19

20              [unpo.org/article/21883], page 2: “The attack is just the latest episode of a series of

21              gross violations committed against the Hmong people. Such violations include
22              uncompensated land confiscation, arbitrary arrests and killings, enforced
23
                disappearances, suppression of freedom of expression and severe restrictions on the
24
                Hmong's economic, social and cultural rights. In light of overwhelming evidence that
25
                the Lao People's Revolutionary Party (LPRP) has violated the most basic human
26
27

28
                                                                                                          31
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 32 of 126


                rights of the ChaoFa Hmong, the UNPO calls on the UN to launch an immediate
 1

 2              investigation of human rights violations in the region.”

 3          3. Radio Free Asia, Lao troops told 'shoot to kill' Hmong rebels, 8 February 2008,

 4              available at: https://www.refworld.org/docid/47b5b70828.html [accessed 7 July
 5
                2022], Page 1: “Government troops in Laos have been ordered to shoot to kill ethnic
 6
                Hmong insurgents in the country's northern jungle regions, with cash rewards offered
 7
                for every "enemy" killed, RFA's Lao service reports. A military official in the
 8
                northern province of Luangprabang said the orders had now become an "open secret"
 9

10              in Laos. The orders apply to the region extending from lower Luangprabang to

11              Xiengkkhouang and the northern part of Vientiane province, where the government
12              hopes systematically to break up Hmong opposition groups by force.”
13
            4. “Laos: Attacks Intensify Against Lao, Hmong People”, March 4, 2013
14
                [www.businesswire.com/news/home/20130304006755/en/Laos-Attacks-Intensify-
15
                Against-Lao-Hmong-People], page 1: ““There is a major surge in political violence
16

17              and ethnic and religious persecution in Laos following the arrest of Lao civic activist

18              Sombath Somphone and the disappearance of three Lao-American men from

19              Minnesota who traveled recently to Laos," said Philip Smith, Executive Director of
20              the Washington, D.C.-based CPPA.”
21
            5. Ounkeo Souksavanh, Max Avery, and Richard Finney, “Lao Government Troops
22
                Launch New Assault Against Hmong at Phou Bia Mountain”, Radio Free Asia, April
23
                4, 2021 [www.rfa.org/english/news/laos/assault-04012021160502.html, page 2: “The
24

25              new push against the Hmong-who fought under U.S. advisors against communist

26              forces during the Vietnam War-follows the March 14 publication of an order by

27

28
                                                                                                      32
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 33 of 126


                authorities in Xaysomboun province barring access by civilians to the forests near
 1

 2              Phou Bia, the highest mountain in Laos, an international NGO said at the weekend.

 3              Hmong civilians living in the area are now reporting an increase in violence at the

 4              hands of government troops, an official of the Brussels-based Unrepresented Nations
 5
                and Peoples Organization (UNPO) told RFA in an email on March 28.
 6
                                                         ***
 7
                    The Lao military has long pushed a campaign targeting Hmong in the region in a
 8
                    program of military attacks and forced relocations into government-controlled
 9

10                  camps and villages, with repression and the use of force entering "a new phase of

11                  severity" in 2016, the UNPO said in a March 25 statement urging an international
12                  response to the crisis.
13
                                                         ***
14
                Authorities in multi-ethnic Laos have long been wary of opposition among the
15
                country's Hmong ethnic minority, many of whom say they face persecution from the
16

17              government because of their U.S. ties during the Vietnam War, when thousands of

18              Hmong fought under CIA advisors during the so-called Secret War against

19              communists in Laos.”
20          6. Samuel Pitchford, “The Forgotten Genocide: Hmong And Montagnards
21
                Face Violent Religious Persecution”, Human Rights Pulse, October 14,
22
                2021 [www.humanrightspulse.com/mastercontentblog/the -forgotten-
23
                genocide-hmong-and-montagnards-face-violent-religious-persecution,
24

25              page 2:

26
27

28
                                                                                                      33
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 34 of 126


                “Around 300,000 [Hmong] fled to neighbouring Thailand where they were placed in
 1

 2              squalid detention camps: Thailand is not a party to the 1951 Convention Relating to

 3              the Status of Refugees and so does not recognise the Hmong as refugees. Many were

 4              later resettled in the United States, but Thailand has deported many back to Laos (to
 5
                an uncertain future).
 6
                Those unable to escape Laos fled into the jungles. Since 1975, reports of Laotian
 7
                military attacks on the Hmong have filtered out of the country (here, here, and here).
 8
                The latest reported attack was in April 2021. There is also evidence of chemical
 9

10              weapons attacks against Hmong civilians. In Vietnam, Hmong and Montagnards

11              persecution is less severe. Nevertheless, Hmong and Montagnards face arbitrary
12              detention, beatings, and evictions. Priests, pastors, preachers are often targeted.”
13
            7. “UN warns Laos over persecution of Hmong” Union of Catholic Asian News, July 2,
14
                2021 [www.ucanews.com/news/un-warns-laos-over-persecution-of-hmong/93115],
15
                page 2:
16

17              “The special rapporteurs also voiced their concerns over allegations that the Lao army

18              has carried out indiscriminate military attacks on Hmong communities in the area and

19              perpetrated a variety of human rights abuses, including extrajudicial killings.
20              Hmong people in the area belong to an independence movement that has resisted the
21
                communist takeover of Laos since 1975 and as a result continue to be routinely
22
                victimized by the country's regime.
23
                "We are distressed by credible allegations and testimonies indicating that cases of
24

25              extrajudicial killings, torture and other serious violations of human rights, including

26              sexual abuse, have been perpetrated by army soldiers," the signatories said.

27

28
                                                                                                          34
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 35 of 126


            "[These allegations] seem to be part of an ongoing and escalating pattern of violence by
 1

 2          government forces characterized by a disproportionate use of force, against Hmong

 3          individuals "and communities, including elderly [people], women and children."”

 4

 5      71. Series of Declarations Obtained by Plaintiffs Discussing the Atrocities Committed by the
 6          Laos Officials, including the Individual Defendants Sued in this Matter
 7

 8
        72. Plaintiff has accumulated 68 declarations of various Hmong people who have signed
 9
            declarations under oath and under penalty of perjury attesting to the basic facts that they
10

11          have personally observed and come to know concerning Laos’s campaign of atrocities

12          against the Hmong people in Laos. The following are the names of the eyewitnesses for

13          whom we have declarations:
14
                    1. Shue Xiong [and Supplemental Declaration of Shue Xiong]
15
                    2. Brandy Xiong
16

17                  3. Frederic Vang

18                  4. Helene Vang
19
                    5. Cha Lor
20
                    6. Cher Pao Xiong
21

22                  7. Peter Lee

23                  8. Tou Cha Her
24
                    9. Blia Xiong
25
                    10. Anyx Nhia Chou Vang
26
27                  11. Bla Vang

28
                                                                                                       35
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 36 of 126


                    12. Charles Cheu Yang
 1

 2                  13. Chayee Xiong
 3                  14. Cher Pao Vang
 4
                    15. Chia Moua Vang
 5
                    16. Coley Tang Vang
 6

 7                  17. Ka Vang
 8                  18. Kamai Yang
 9
                    19. Koua Xiong
10
                    20. Pang Xiong
11

12                  21. Kia Lor

13                  22. Kou Yang
14
                    23. Lee Kue
15
                    24. Plia Khang Yang
16

17                  25. Prentice Vaj

18                  26. Seng Xiong
19
                    27. Shoua Moua
20
                    28. Stephen Shong Thai Lee
21

22                  29. Thao Vang

23                  30. Thao Xiong
24
                    31. Wa Tong Moua
25
                    32. Wilson Vang
26
27                  33. Xao L. Thao

28
                                                                                                     36
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 37 of 126


                    34. Zong Vue Lee
 1

 2                  35. Yia Vang Xiong
 3                  36. Yang Vang Lee
 4
                    37. Bee C. Lor
 5
                    38. Ka Kong
 6

 7                  39. Mee Yang
 8                  40. Her Nao Chu
 9
                    41. See Vang
10
                    42. Jee Lee
11

12                  43. Waseng Xiong

13                  44. Ye Vang
14
                    45. Ka Lor
15
                    46. Mee Lor
16

17                  47. America Vang

18                  48. Keiserma Xavang
19
                    49. Tong Ku Xiong
20
                    50. Toua Tony Lee
21

22                  51. Her Tru Ly

23                  52. Va Vang
24
                    53. Victor Yang
25
                    54. Sandy Her
26
27                  55. Wa Lue Xiong

28
                                                                                                     37
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 38 of 126


                    56. Washoua Moua
 1

 2                  57. Wilson C. Vang – Check if duplicate
 3                  58. Xia Fong Yang
 4
                    59. Zong Vue Lee
 5
                    60. Chang Vang
 6

 7                  61. Xeng Xiong
 8                  62. Yong Yia Yang
 9
                    63. Zamua Lee
10
                    64. Houa Xiong
11

12                  65. Lor Lee

13                  66. Sheng Ya Lee
14
                    67. Her Ngia”
15

16

17      73. We have not submitted these actual declarations to this complaint but instead will

18          summarize them here and will give direct quotations from those decorations. The

19          declarations themselves comprise 157 pages and are retained and kept by plaintiffs’
20          counsel.
21

22

23      74. The list of 67 witnesses to the specification of the atrocities committed by the Laos PDR

24          and Laos officials previously in charge of Laos and the Laos officials that are continuing

25          that program and who are sued herein as defendants include a substantial number of

26
27

28
                                                                                                     38
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 39 of 126



 1          witnesses [12 out of 67] who provided declarations that are currently from Fresno
 2          California and other cities within the Eastern district of California.
 3

 4      75. A description of some of the declarations are as follows:
 5          1. Declaration of Shue Xiong

 6          The declaration of Mr. Shue Xiong includes a series of recent photos from an incident of
 7
            March 9, 2021 attached as Exhibits A, B and C to his declaration. These photos show
 8
            examples of incidents where Laos communist military officials captured a Hmong man
 9
            named Chue Youa Vang, tied him to a tree, beat, tortured, and later beheaded him.
10

11

12          Shue’s declarations and photographs are corroborated by the Government’s evidence,

13          Report by the US State Department, which gives the following description of the same
14          incident:
15
                    “In April several UN special rapporteurs wrote a letter to the government
16
                    expressing concern about the alleged March 8 killing of Chue Youa Vang, a
17
                    relative of two ethnic Hmong victims from a group of four Hmong who
18
19                  disappeared in March 2020. The letter alleged Vang was shot and killed by

20                  soldiers as reprisal for his and other family members’ advocacy for their missing

21                  relatives.”
22

23
            2. Supplemental Declaration of Shue Xiong
24

25          Shue Xiong’s declaration includes as Exhibit B thereto photos of a 2006 incident in
26
            which Laos military officials murdered Hmong people (four photos).
27

28
                                                                                                     39
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 40 of 126


            Exhibit C to his supplemental declaration is a collection of photos obtained on the
 1

 2          internet by doing the following search: Hmong people killed by Laos Military.

 3

 4          3. Declaration of Brandy Xiong
 5

 6      The Declaration of Brandy Xiong states in part:

 7

 8          “2. As a Hmong person born in Laos, I was never treated as or considered to be a citizen

 9          of Laos. For example, I was never given any kind of national identification card, birth

10          certificate, or a passport. I was never allowed or permitted to be involved in any kind of
11          public or civic affairs. We were allowed to live there, but were never treated as or
12
            considered to be nationals of Laos.
13
            3. After the Vietnam War ended (1975), the current Communist regime took over Laos,
14
            and is still in charge of Laos.
15

16          4. The current Communist regime has and continues to be extremely hateful towards

17          Hmong people, because the Hmong people were asked by the USA CIA to become USA

18          soldiers in the USA secret war in Laos. After the peace treaties of 1971/1972 were
19
            signed, the USA pulled out of Southeast Asia in 1975.
20
            The Laos Communist regime then used its military defense forces to hunt down Hmong
21
            people living in the hills and jungles of Laos, and systematically raped Hmong women
22
            and young girls (as young as 10) while torturing and killing the Hmong people of all ages
23

24          due to their alliance with the USA CIA secret war in Laos from 1959 to 1975. The

25          genocide of the Hmong people started from 1975 until today (2022).”
26
27

28
                                                                                                         40
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 41 of 126


            Brandy Xiong also attached her own five-page statement on the history of abuse by Laos
 1

 2          military official against Hmong people, which includes the following statements of

 3          interest here:

 4          “…when Thailand and the United States withdrew their troops, the Hmong nation
 5
            suffered from persecution, racial discrimination, genocide, torture and labelled as the
 6
            enemy of Pathet Lao (LPDR) and North Vietnam because of the loss of thousands of
 7
            lives and countless action that were perpetrated by Thailand and the United States both in
 8
            Laos and Vietnam during the Vietnam war era from 1960 to 1975. The Lao (LPDR) has
 9

10          shown history of arbitrary arrests and disappearances, such as imprisonment, torture and

11          execution.
12          (4. Whereas the violent military campaign of Lao ( LPDR) against Hmong indigenous,
13
            who refused to flee the country or surrender to the government for fear of arrest, torture
14
            and execution that began in 1975, more that 70,000 of Hmong indigenous men, women
15
            and children out of more than 100,000 Hmong indigenous were forced from their villages
16

17          to the rainforest, which is so called Xaisomboun Special Zone, Northern Laos.

18          (5. Whereas this campaign is still ongoing and the Hmong indigenous a continue to be

19                  hunted by the Lao (LPDR) military and North Vietnam mercenaries, and now the
20                  Hmong indigenous were utterly wiped out from the rainforest due to starvation
21
                    and were killed by the Lao (LPDR) and North Vietnam mercenaries. Be advised
22
                    that the Hmong's problem is also the United States problem. Whereas the Hmong
23
                    people had defended democracy and freedom for the entire World for 15 years.
24

25                  Whereas the Hmong had made history for the entire World to enjoy peace,

26                  democracy, security and well-being for almost 50 years now.

27

28
                                                                                                         41
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 42 of 126


                                                             ***
 1

 2
                (11. Whereas the Hmong were admitted to the United States as refugees and rights
 3
                under the Refugees Program of the United States and United Nations, not economic
 4

 5              immigrants. Whereas the Hmong fled Laos to Thailand and many other countries

 6              from persecution, torture and genocide. Whereas the Hmong people are not safe to

 7              repatriate back to Laos, if they return to Laos they will face execution and torture.
 8
                Whereas the Hmong people were not citizens of Laos, the Hmong never have been
 9
                recognized as citizens of Laos by the Lao government from the very beginning.
10
                (12. Whereas of 05/20/1979 I have witnessed and saw with my own eyes that around
11
                3,000 Hmong men, women and children had been killed by Lao (LPDR) soldiers and
12

13              North Vietnam mercenaries in Phou Bia mountain, which was located in

14              Xaysomboun
15              Special Zone in Northern part of Laos. Their bodies were bloated, bubbling with
16
                tongues sticking out and eyes were popping out when their bodies started rotting. As
17
                of 06/15/1981 I had witnessed that 160 Hmong men, women and children had been
18
                taken out from the village of Than Xay in the of XaySomboun and the Province of
19

20              Vientieng, Laos to the jungle with blindfolded, their hands were tied behind their

21              backs, once they arrived to the jungle their bodies had been struck by sticks and

22              stones from behind. As of 2008 Trillion Yang and Hakit Yang, Hmong men from
23              Saint Paul, Minnesota disappeared in Laos during their trip to Laos .. Half million
24
                Hmong people had been killed by Lao soldiers since 1975 to this day.”
25

26
                    4. Declaration of Frederic Vang
27

28
                                                                                                        42
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 43 of 126


                    His Declaration states in part:
 1

 2                  “4. The current Communist regime has and continues to be extremely hateful

 3                  towards Hmong people, because the Hmong people were asked by the USA CIA

 4                  to become USA soldiers in the USA secret war in Laos. After the peace treaties of
 5
                    1971/1972 were signed, the USA pulled out of Southeast Asia in 1975. The Laos
 6
                    Communist regime then used its military defense forces to hunt down Hmong
 7
                    people living in the hills and jungles of Laos, and systematically raped Hmong
 8
                    women and young girls (as young as 10) while torturing and killing the Hmong
 9

10                  people of all ages due to their alliance with the USA CIA secret war in Laos from

11                  1959 to 1975. The genocide of the Hmong people started from 1975 until today
12                  (2022).
13
                    5.I am personally a witness to the following acts by Laos Communist military
14
                    forces against Hmong people in Laos:
15
                    [describes the killing of his brother and brother’s family while they were trying to
16

17                  escape from Laos]”

18
19                  5. Declaration of Helene Vang
20          Her declaration describes Lao military officials’ murder of her brother while he was en
21
            route to escape and join family in Thailand.
22

23
                    6. Declaration of Cha Lor
24

25          His declaration states in part:

26
27

28
                                                                                                      43
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 44 of 126


                    “5.I am personally a witness to the following acts by Laos Communist military
 1

 2                  forces against Hmong people in Laos:

 3                          1. Vue Vang

 4                          2. Nhia Chong Vang
 5
                            3. Va Vang
 6
                            4. Xue Vang”
 7

 8
                    7. Declaration of Cher Pao Xiong
 9

10              His declaration states in part:

11                  “5.I am personally a witness to the following acts by Laos Communist military
12                  forces against Hmong people in Laos:
13
                    ….my older brother had passed away from suffering under Laos communist. My
14
                    older brother is Kou Xiong”
15

16

17                  8. Declaration of Peter Lee:

18          His declaration states in part:

19                  “5.I am personally a witness to the following acts by Laos Communist military
20                  forces against Hmong people in Laos:
21
                            1. Chong Lee
22
                            2. Kia Thao
23
                            3. Bong Lee
24

25                          4. Xiogn Tou Lee”

26
27

28
                                                                                                     44
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 45 of 126


                     9. Declaration of Tou Cha Her:
 1

 2              His declaration states Laos communist regime killed grandmother on November 13,

 3              1975; and killed his uncle in April 19, 1975.

 4

 5
                     10. Declaration of Blia Xiong:
 6

 7          Her declaration states in 1976, her uncle Chia Lee Xiong and his two sons were killed by
 8
            communist regime in Laos; and in 1979, her father and her daughter by the communist
 9
            regime.
10

11                   11. Declaration of Anyx Nhia Chou Vang:
12

13          His declaration states three brothers were in Vang Pao’s army, and were killed by Laos
14          communists in 1974 and one in 1990.
15

16                   12. Declaration of Bla Vang:
17          His declaration states in part: “Lost my dear mother and brother due to the Loo PDR
18
            ambushing our village in Laos in 1979.”
19

20
                     13. Declaration of Charles Cheu Yang:
21

22          His declaration states in part: “My Mom, dad, and sister were killed by the Lao PDR in

23          1975.”

24                   14. Declaration of Chayee Xiong:
25

26
27

28
                                                                                                     45
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 46 of 126


            His declaration states in part: “My village had been destroyed in 7975 and the Lao
 1

 2          soldiers killed one of my brothers. ln 1979, another brother of mine hod been tortured and

 3          murdered”

 4

 5
                    15. Declaration of Cher Pao Vang:
 6
            His declaration states in part:
 7
                    “ln May of 1977. there were airplanes that released a chemical known as "yellow
 8
                    rain" upon the Hmong villages. Mv mom went to the garden to pick a few herbs
 9

10                  and vegetables to cook a meal. She somehow got in contact with the chemical and

11                  passed away from it overnight.
12                  Another instance of these hateful act happened in 1979 to mv aunt Mao Vane. She
13
                    went out one day to harvest some wheat. on the way home, she was shot point
14
                    blank and died on the scene. we couldn't even bring her body back to prepare a
15
                    proper burial for her.”
16

17

18                  16. Declaration of Chia Moua Vang:

19          His declaration states that his uncle is still in the jungle of Laos; his uncle’s families were
20          killed by Laos government.
21

22
                    17. Declaration of Coley Tang Vang:
23
            His declaration states the following victims of the Laos PDR regime:
24

25                  Yeng Vang – uncle killed by Laos Communists

26                  Yeng Vang – other uncle, shot and killed with AK-47 by Laos Communists

27

28
                                                                                                         46
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 47 of 126


                    Ying Yang – uncle from Mom’s side; shot and killed
 1

 2                  Xia Dang Yang – my uncle from mom’s side – tortured and killed

 3
                    These occurred around 1981.
 4

 5
                    18. Declaration of Ka Vang:
 6
            His declaration states: “Song Chong Yang,, Tou Lee Yang, Nhia Long Yang, Xao Vue
 7

 8          and his family’s five people; Ger Vang Wa Tong’s wife; Pao Xa Teng Vang, still more I

 9          can’t remember, when I came across a Meakhong River I saw more than 15 people dead”

10

11                  19. Declaration of Kamai Yang:
12
            Her declaration states in part: “Lao PDR used weapons and chemical to eliminate the
13
            Hmong people, our writing system, and religion. They destroy our homes, farms,
14
            livestock, cookware, and clothes”
15

16

17                  20. Declaration of Koua Xiong:

18          His declaration states in part: “My parents and siblings perished in the jungle of Lao due
19
            to being hunted like animals by the Lao government. I am an orphan to this very day
20
            because the Americans enlisted young Hmong men and women to assist the US Army
21
            and teach them guerilla warfare.”
22
     Plaintiffs’ Own Direct Experience with Being Victims of the Atrocities Committed by the
23
     Laos People’s Democratic Republic
24

25      76. We submit the following personal stories of each of the plaintiffs in this action as further

26          evidence of the campaign of atrocities committed by Laos against Hmong people,

27          including the plaintiffs named herein:

28
                                                                                                       47
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 48 of 126



 1      77. Seng Xiong
 2          The following information about Plaintiff Seng Xiong is taken directly from testimony
 3          given under oath and under penalty of perjury during the September 23, 2022 merits
 4          hearing on his application for protection under the Convention against Torture before the
 5
            United States Immigrations Court in El Paso Texas, Hon. Michael Pleters, Judge
 6
            presiding:. See Reporter Transcript, page 45, lines 5-23:
 7          “Q. You mentioned that if these people try to go to Laos, they might not be allowed
 8          in.··Let me ask that about you.··If you were -- if you showed up right now to the Laos
 9
            Airport, do you think they would let you in?
10
            A. No, they will take me into custody right away.
11
            Q. So you wouldn't -- you would be taken somewhere besides -- you would not be
12

13          allowed to just walk through the airport, you know, get in front of the airport, get a taxi,

14          and take off?

15          A. No, no, not in Laos, no.
16          HONORABLE JUDGE M. PLETERS:··Why is that, sir? Hold on. Why is that, sir?
17
            SENG XIONG: Because they know who I am. Reported by Dr. Yang Dao and other
18
            people to the Lao embassy in Washington, DC, and in Vientiane, so they know who I
19
            am.··Because I have raised the Hmong prosecution at the United Nations and also with
20

21          US State Department and US Senate, so they know -- they all know who I am.”

22

23          See also Reporter’s Transcript, page 25, line 8 - page 26, line 5 [ROA.0031]:
24
            “Q. Did your father -- was he actually any kind of a soldier for the US CIA?
25
            A. No, my dad wasn't, no.
26
27

28
                                                                                                           48
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 49 of 126


            Q. Was anyone in your family -- uncles, aunts, grandmother, grandfather, anybody like
 1

 2          that -- a solider for the US CIA Army?

 3          A. Yes, my -- my -- my uncle, my brothers -- younger brother.··He's the -- he's a soldier

 4          for Vang Pao.
 5
            Q. And what was your understanding about the Laos government's killing of Hmong
 6
            people, did they want to·kill all of them or a subpart of them or what?
 7
            A. Only people who had sided with Vang Pao.
 8
            Q. And was your family on the side of Vang Pao?
 9

10          A. Yes, my family was, yes.

11          Q. Okay. And so your family, would you consider -- well, were members of your family
12          killed by Laos military?
13
            A. My dad's cousin is killed by the -- from what I understand was probably Pathet Lao's
14
            regime in the Eastern Laos, yes.
15
            Q. Okay. You were -- you and your family were able to get out, though; is that the case?
16

17          A. Yes. We got out before the -- Pathet Lao take over the country.”
18
19          See also Reporter’s Transcript, page 20, lines 10-20, where Seng Xiong describes who

20          Vang Pao is:
21
            “SENG XIONG:··Vang Pao, yes.
22
            HONORABLE JUDGE M. PLETERS:··He was a Hmong general?
23
            SENG XIONG:··He's a Hmong general recruited by the Mr. -- [unintelligible] -- which is
24
            a CIA agent that sent by -- [unintelligible] -- from the PAO United States to recruit the
25

26          Hmong people in – [unintelligible] -- in Laos to fight against Communist Pathet Lao and

27          Vietnamese Army --
28
                                                                                                        49
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 50 of 126


            HONORABLE JUDGE M. PLETERS:··Okay.
 1

 2          SENG XIONG:··-- in Central Laos.”

 3

 4
        78. Thao Xiong
 5
            Plaintiff Thao Xiong has the following personal information:
 6
            Plaintiff Thao Xong was born in 1966 in the town of Doung Pahim, Xiengkouang, Laos.
 7
            He currently lived in Minneapolis, Minnesota. He is 56 years of age as of 2023. His dad,
 8
            Xia Vue Xiong, was an Army Officer of the French Foreign Legion in Indochina. His
 9
            older brother, Tong Yang Xiong was a soldier for General Vang Pao until 1973.
10

11          When the Cease Fire Agreement signed in 1973 in Vientiane, Laos, his family was in

12          Moung Cha, Province of Xiengkhouang. They were there until 1975 when they heard that

13          the Communist Pathet Lao going to punish Hmong people who fought with Vang Pao.

14          They decided to leave the country, when they reached the town Him Heu, they were

15          ambushed by Lao Communist forces. Many people died and they turned back and

16          decided to hide in the jungle from 1975 to 1984. During this time he has witnessed many
17          Hmong people who have taken refuge in the jungle being killed by Lao and Vietnamese
18          soldiers; he has took up arms to defend against Communist Lao and Communist
19          Vietnamese forces while he was in the jungle of Laos. He left Laos in 1984 to Thailand
20
            crossing jungles and the Mekong River. He was stationed in the Refugees camp in Ban
21
            Vinai for 5 years. He left Thailand to the United States, settled in Marysville, California
22
            in 1989.
23
            He joined the World Hmong People’s Congress in 2005 to pursue Self-determination. He
24
            has advocated with World Hmong People’s Congress at the United Nations Headquarters
25
            in New York City in 2005 and 2007 to lobby the International Communities to stop the
26
            Hmong genocide in the Lao PDR.
27

28
                                                                                                      50
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 51 of 126



 1          In 2014, he became a member/supporter of Hmong Tebchaws or Hmong Country
 2          movement in Fresno, California. A Hmong Country is the only way they can protect
 3          ourselves from persecution.
 4

 5
        79. Lor Vang
 6
            Plaintiff Lor Vang has the following personal information:
 7
            Plaintiff Lor Vang was born in 1966 in the town of Tani, Moung Mog, Province of
 8
            Xiengkhouang, Laos. His dad, Za Teng Vang, was a local militia Officer for General
 9
            Vang Pao. His dad would sometime go to meet with General Vang Pao in Long Cheng
10
            for briefing of the war against communist forces.
11
            When the Cease Fire Agreement was signed in Vientiane, Laos in 1973, his family did
12
            not know anything about it. When the Communist Lao soldiers came to his town and
13
            started to destroy their crops, arresting leaders, elders and attacking them in 1976, they
14

15          decided to hide in the jungle until 1978 when his dad took the family to Thailand.

16          When they reached Thailand, they stayed in Nong Khai for a few years before they were

17          transferred to the Refugees camp in Ban Vinai. When the Refugees camp was closed in

18          Ban Vinai, they were transferred to Ban Napho and then to Wat Tham Krabok sanctuary

19          temple. They remained there until early 2004 when they were given Refugees visa to
20          come to the United States. They settled in Milwaukee, Wisconsin in September, 2004.
21          He joined the Hmong Tebchaws, Hmong Country Mission in 2014 in Fresno, California
22          as a supporter for his has seen many videos and pictures of Hmong girls, boys and elders
23
            being killed and slaughtered by Lao Communist forces in Laos. He felt that he had to do
24
            something to save the Hmong people.
25
            He believes that a Hmong Country will save their people from acts of violence,
26
            discrimination, to have peace, freedoms and salvation.
27

28
                                                                                                         51
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 52 of 126



 1      80. Lue Vang
 2          Plaintiff Lue Vang has the following personal information
 3          Plaintiff Lue Vang was born in 1963 in the Hmong village of Doung Tho,
 4          Xiengkhouang, Laos. His dad, Xia Soua Vang, was a local soldier for General Vang Pao.
 5
            His dad’s role is to guard the town, relay information on the war to the local residence.
 6
            His dad told us that there was a Cease Fire Agreement in Vientiane to end the war, but
 7
            his did not believe that they would be safe and decided to leave Laos. They went to
 8
            Thailand sometime late in 1975. They were stationed in Non Khai, Thailand for a while
 9
            until they were transferred to the Refugees camp in Ban Vina. They remained there until
10
            1980 when we were interviewed by US government officials and given entrance into the
11
            United States. They settled in Santa Ana, California.
12
            His dad was a Member of General Vang Pao political organization, Neohom, based in
13
            Orange County, California to retake the Country back from Communist Lao. He
14

15          supported General Vang Pao until Pao’s death in 1997.

16          He joined and supported the Hmong Country movement to establish a Hmong Country in

17          2015 when he heard it on a conference call (712) 432 -5232. He believed that the Hmong

18          have to have a country of their own so no one can hurt them or destroy them. He will do

19          anything to help the Hmong Country project.
20

21                                   V.
         VIOLATION OF VIETNAM WAR ERA PEACE TREATIES AND WAR CRIMES
22                                TREATIES

23

24      81. Plaintiffs assert the following violations of the series of Vietnam era peace treaties as

25          well as war crimes treaties that have become the laws of nations. which Laos is bound by,

26          and which Laos has violated.
27

28
                                                                                                        52
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 53 of 126



 1      82. Plaintiffs seek to enjoin the Laos government and the individual defendants herein from
 2          further atrocities and violation of these treaties, and cite these treaties as something that
 3          they each as a third party can enforce. See e.g., Kolovrat v. Oregon, 366 U.S. 187 (1961)
 4          (enforcing a Yugoslav citizen's right under U.S.-Serbia treaty to inherit personal property
 5
            located in Oregon); Clark v. Allen, 331 U.S. 503 (1947) (enforcing a German citizens'
 6
            right to inherit property in California).
 7

 8
        83. The 1973 Vientiane Ceasefire Agreement provides the following provisions which
 9
            Plaintiff claims were violated by the Defendants atrocities committed against the Hmong
10
            people, including Plaintiffs herein:
11
            Article 1 para B [Excerpts of the 1973 Vientiane Ceasefire Agreement]:
12
            “The 9 July 1962 communique on the neutrality of Laos and the 1962 Geneva Agreement
13
            on Laos are the correct basis of the policy of peace, independence and neutrality of the
14
            Kingdom of Laos.”
15

16
            Article 2:
17
            “Beginning at 1200 (0500 GMT-FBIS) on 22 February 1973, a cease-fire in place will be
18
            observed simultaneously throughout the territory of Laos.”
19

20          Article 5:
21          “The two Laos sides will repatriate all persons, regardless of nationality, who were
22          captured or detained because they collaborated with one side or the other in the war”
23          Article 6:

24          “General free and democratic elections are to be carried out to establish the national

25          assembly and permanent national coalition government, which are to be the genuine

26          representatives of the people of all nationalities in Laos.”

27

28
                                                                                                            53
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 54 of 126



 1      84. The 1973 Vientiane Ceasefire Agreement for Laos required a cessation of war activity,
 2          yet Laos commenced a war against Hmong people. The cease fire agreement required

 3          democratic elections which never happened. They should happen now.

 4

 5      85. The 1973 Vientiane Ceasefire Agreement further requires Laos to comply with the 1962

 6          Geneva Convention, which makes illegal certain war activities including use of chemical
            poisons; use of rape; genocide; torture; mutilation; organ removal.
 7

 8
        86. The 1962 Geneva Convention is cited separately as its own treaty violated by the above
 9
            described atrocities committed under the official policy of the country of Laos against
10
            Hmong people including: war crimes; use of rape; chemical warfare; mutilation and
11
            torture.
12

13
        87. The following provisions of the 1962 Geneva Convention were violated by Defendants
14
            conduct:
15
           Part III, Article 3 of the 1962 Geneva Convention the following:
16         “In the case of armed conflict not of an international character occurring in the territory of
17         one of the High Contracting Parties, each Party to the conflict shall be bound to apply, as a
18         minimum, the following provisions:
19         (1) Persons taking no active part in the hostilities, including members of armed forces who
20         have laid down their arms and those placed hors de combat by sickness, wounds,

21         detention, or any other cause, shall in all circumstances be treated humanely, without any

22         adverse distinction founded on race, colour, religion or faith, sex, birth or wealth, or any

23         other similar criteria. To this end, the following acts are and shall remain prohibited at any

24         time and in any place whatsoever with respect to the above-mentioned persons:
           (a) violence to life and person, in particular, murder of all kinds, mutilation, cruel
25
           treatment and torture;
26
           (b) taking of hostages;
27

28
                                                                                                          54
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 55 of 126



 1         I outrages upon personal dignity, in particular, humiliating and degrading treatment;
 2         (d) the passing of sentences and the carrying out of executions without previous judgment

 3         pronounced by a regularly constituted court, affording all the judicial guarantees which are

 4         civilized55as indispensable by civilized peoples”

 5

 6         Part III, Article 27 of the 1962 Geneva Convention provides: “Women shall be especially
           protected against any attack on their honour, in particular against rape, enforced
 7
           prostitution, or any form of indecent assault.”
 8

 9
           Part III, Article 32 of the 1962 Geneva Convention provides:
10
           “The High Contracting Parties specifically agree that each of them is prohibited from
11
           taking any measure of such a character as to cause the physical suffering or extermination
12
           of protected persons in their hands. This prohibition applies not only to murder, torture,
13
           corporal punishment, mutilation and medical or scientific experiments not necessitated by
14
           the medical treatment of a protected person, but also to any other measures of brutality
15
           whether applied by civilian or military agents. No protected person may be punished for
16         an offence he or she has not personally committed. Collective penalties and likewise all
17         measures of intimidation or of terrorism are prohibited. Pillage is prohibited.
18         Reprisals against protected persons and their property are prohibited.
19

20      88. The following further treaty is invoked as violated by Defendants conduct: 1966

21          International Covenant on Civil and Political Rights.

22

23      89. The conduct of Defendants constitutes a violation of international law and treaties in that

24          the Defendants used an official military and legal campaign constituting an act of war
            against the Hmong people; in complete defiance of the 1973 Vientiane Ceasefire
25
            Agreement.
26
27

28
                                                                                                        55
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 56 of 126



 1      90. The campaign of atrocities against the Hmong people, occurred as a direct result of the
 2          Laotian Communist regime’s refusal to implement one of the key provisions of the 1973

 3          Vientiane Ceasefire Agreement, which was the requirement that the government of Laos

 4          hold Democratic Elections. Plaintiffs submit that had democratic elections occurred and

 5          democratically elected officials been placed in charge of the governing of Laos, that this

 6          campaign of horrors would have stopped right then and there.

 7

 8      91. Plaintiffs claim this because the good people of Laos, its rank and file citizenry, where
            not part of the campaign against Hmong people.
 9

10
        92. The 1966 International Covenant on Civil and Political Rights [provides the following
11
            provisions which Plaintiffs claim were violated by Defendants conduct:
12
            Article 2, 1966 International Covenant on Civil and Political Rights: “Each State Party to
13
            the present Covenant undertakes to respect and to ensure to all individuals within its
14
            territory and subject to its jurisdiction the rights recognized in the present Covenant,
15
            without distinction of any kind, such as race, colour, sex, language, religion, political or
16
            other opinion, national or social origin, property, birth or other status.”
17

18
            Article 6, Part 1, 1966 International Covenant on Civil and Political Rights:
19
            “Every human being has the inherent right to life. This right shall be protected by law. No
20          one shall be arbitrarily deprived of his life.”
21

22          Article 9 1966 International Covenant on Civil and Political Rights:
23          “1. No one shall be subjected to arbitrary or unlawful interference with his privacy,
24          family, home or correspondence, nor to unlawful attacks on his honour and reputation.
25          2. Everyone has the right to the protection of the law against such interference or

26          attacks.”

27

28
                                                                                                           56
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 57 of 126



 1          Article 16, 1966 International Covenant on Civil and Political: “Everyone shall have the
 2          right to recognition everywhere as a person before the law”

 3

 4          Article 26 of the 1966 International Covenant on Civil and Political Rights states: “All

 5          persons are equal before the law and are entitled without any discrimination to the equal

 6          protection of the law. In this respect, the law shall prohibit any discrimination and
            guarantee to all persons equal and effective protection against discrimination on any
 7
            ground such as race, colour, sex, language, religion, political or other opinion, national or
 8
            social origin, property, birth or other status.”
 9

10

11                                   V.
     FIRST CLAIM FOR RELIEF FOR VIOLATION OF THE ALIEN TORT CLAIMS ACT
12
          [Plaintiffs Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang Against all Defendants]
13

14
        93. This is a First Claim for Relief for Violation of the Alien Tort Claim Act, by Plaintiffs
15
            Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang against defendants Lao People’s
16          Democratic Republic; President Thongloun Sisoulithis; Prime Minister Sonxai
17          Siphandon; Souansavan Vi-gnaket, Minster of Justice; General Chansamone Chanyalath,
18          Minister of Defense; Lieutenant General Vilay Lakhamfong, Minister of Public Security;
19          and Dr. Yang Dao.
20

21      94. The preceding paragraphs of the Complaint are incorporated herein as though set forth in
22          full.
23

24      95. The defendants and each of them committed a series of intentional torts against each of
25          the plaintiffs in the form of creating an official policy of the Lao PDR to generally

26          commence a campaign of horrors and atrocities against all Hmong people whose family

27

28
                                                                                                        57
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 58 of 126



 1          members were connected to the USA CIA secret war in Laos during the Vietnam War
 2          era.

 3

 4      96. The particulars of those atrocities and campaign of whores have been specified above and

 5          will be generally referenced in this claim for relief as the atrocities committed against the

 6          Hmong people in Laos.

 7

 8      97. The torts and actionable wrongdoings that arose from that conduct include the following

 9          intentional torts that each of the Plaintiffs were individually and personally aggrieved by,

10          as was further set forth above:

11

12      98. Violation of each Plaintiff's right to peaceful and quiet enjoyment of their homes and
            property in Laos after the peace treaties were entered into. Instead of permitting peaceful
13
            coexistence between the Hmong people and the Laos Communist regime, the Communist
14
            regime went after the Laos people in a campaign of horrors and atrocities, which required
15
            for survival the Hmong people generally to flee into the jungles. Plaintiffs fled the
16
            country of Laos, and made their way over to Thailand, where they became refugees. They
17
            had to give up all of their homes, possessions, and belongings, including their real
18
            property their personal property livestock basically their entire lives were removed from
19
            where they had grown up where they had lived The only place they really had known.
20
            Each of the plaintiffs left louse for Thailand became refugees in Thailand and were
21
            granted refugee visas to come to USA, came to USA, and became permanent residency
22          visa holders in the USA. Each of the plaintiffs is currently in USA as a green card holder
23          and is thus in the category of an alien asserting this tort claim.
24

25      99. Each of the plaintiffs have a prospective economic advantage in the form of the creation
26          of a Hmong homeland. The Lao People's Democratic Republic, with the direct
27          participation of the named individual defendants herein, and with the assistance of Laos
28
                                                                                                       58
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 59 of 126



 1          spies and operatives based in the territory of the USA, and as described above, have
 2          intentionally and willfully interfered with plaintiffs’ prospective economic advantage by

 3          taking steps to eliminate plaintiff's attempts to establish that Hmong homeland.

 4

 5      100.        The defendants and each of them accomplished this interference by making sure

 6          through their spying efforts that the process of establishing a separate country for the

 7          Hmong people would never happen.

 8

 9      101.        One of the events that led to a complete cessation of the Hmong homeland

10          campaign was done by defendant Yang Dao, who gave false police reports to the
            Minnesota Police department that the Hmong homeland program was actually some kind
11
            of an illegal gambling ring. There was never any kind of prosecution for any kind of
12
            illegal gambling ring, but the false reporting of the illegal gambling ring was enough to
13
            cause the Minnesota Police Department to refer the matter over to the USA Secret
14
            Service. The USA Secret Service agents then got involved, and completed a different
15
            kind of investigation into a claim of wire fraud and mail fraud. That claim was based on
16
            the notion that the Hmong homeland campaign, of which all plaintiffs have been directly
17
            and personally involved in, was actually a fraud to just collect money up from Hmong
18
            people without any intent of ever actually establishing a Hmong homeland. This was a
19
            false report in that plaintiff's at all times duly intended to set up a monk country, and still
20          have that general intent and are still undertaking efforts to establish a Hmong homeland.
21

22      102.        The US federal government took the position that such a Hmong homeland would
23          require official USA permission and or official United Nations permission, and that
24          Plaintiff Seng Xiong never obtained that permission.
25

26      103.        Unfortunately, the jury accepted that thesis, and convicted Seng Xiong during
27          2017 following a federal court trial in the United States District Court for the District of
28
                                                                                                           59
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 60 of 126



 1          Minnesota. Seng Xiong was sentenced to 8 years in prison, and was released from that
 2          imprisonment during May 2022.

 3

 4      104.          The other plaintiffs were not prosecuted in any way, shape, or form from that

 5          action.

 6

 7      105.          When the United States government arrested Seng Xiong, they also took

 8          approximately $1.2 million in donation funds that had been given over to the Hmong

 9          homeland effort. These funds were obtained as a budget to purchase lands in some

10          willing post country. As of the time of his arrest, the target country to serve as a host
            country was Thailand. The concept was that the Hmong homeland campaign would
11
            purchase a large track of land in the northern part of Thailand, which before the end of
12
            the Vietnam War, actually belonged to Laos and was ceded over by treaty to Thailand.
13
            Seng Xiong was actually headed to Thailand to do negotiations and discussions with high
14
            officials about whether they would be willing to host a Hmong homeland inside their
15
            country.
16

17
        106.          The concept is similar to what USA does with Native American tribes. The USA
18
            regularly allows USA tribes to operate sovereign land holdings called reservations, in
19
            which Native Americans are permitted to operate a sovereign nation of their people,
20
            complete with their own court systems; legislative bodies; executive branches in the form
21
            of tribal councils; and to conduct the regular aspects of governmental sovereignty that a
22          country normally would possess; such as economic self-determination; business
23          activities; housing development so people would have a place to live; education systems
24          so people would have a place to learn; health systems so people could tend to their health
25          needs; law enforcement officials so that there would be keepers of the peace; and citizen
26          acceptance and approval systems that allowed for new members to arrive to the Native
27          American nations, and become citizens of that nation.

28
                                                                                                        60
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 61 of 126



 1      107.        In the same way, the Hmong people seek to establish such a country/homeland in
 2          a country to have the normal sovereign rights of a country as specified above in the

 3          analogy of the Native Americans, and to do all those things that countries normally do for

 4          their citizens.

 5

 6      108.        The arrest of Seng Xiong brought the Hmong country/homeland program to a

 7          standstill. The government seized all the funds that would have been used and made

 8          available to buy land, and rather than allowing that program to go forward, stopped it in
            its tracks.
 9

10
        109.        As noted above, plaintiffs have continued to work on the campaign to establish a
11
            country/ homeland for the Hmong people and have not given up hope on this extremely
12
            important effort on behalf of the Hmong people.
13

14
        110.        Further torts committed by the Defendants and each of them include the murder
15
            and torture of Plaintiffs’ immediate family members, thus the intentional tort of
16
            intentionally assaulting and killing the plaintiffs family members. as specified above.
17

18
        111.        The conduct in implementing a policy that continues through to this writing also
19
            constitutes the intentional tort of infliction of extreme emotional distress causing each of
20
            the plaintiffs general damages.
21

22      112.        The conduct in eliminating all possibility of residing peacefully in Laos after the
23          war, constitutes the intentional tort of interference with and breach of the right to
24          peaceful enjoyment of their property and land.
25

26      113.        The conduct in interfering with plaintiff's efforts to establish a Hmong Homeland
27          constitutes the intentional tort of intentional interference with prospective economic

28
                                                                                                        61
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 62 of 126



 1          advantage. From the spying efforts of the defendants USA-based spies including
 2          defendant Dao, the defendants had actual knowledge of the plaintiffs’ prospective

 3          economic advantage in terms of their efforts to locate and establish a place where Hmong

 4          people could call home. The defendants intentionally took the efforts described above to

 5          interfere with that perspective economic advantage with the intent to ruin and destroy all

 6          hopes, dreams, and activities of the plaintiffs to form a Hmong homeland somewhere on
            Earth.
 7

 8
        114.         These intentional torts are all intertwined with one another, and are further part
 9
            and parcel of the overall campaign by the Laos Communist regime and each of the
10
            defendants herein to commit a series of war crimes and atrocities against the among
11
            people generally and including the plaintiffs specifically.
12

13
        115.         As such because the defendants have committed war crimes there is no political
14
            immunity for war crimes, nor is there any statute of limitations for commission of these
15
            war crimes.
16

17
        116.         The November 11, 1970 Convention on the Non-Applicability of Statutory
18          Limitations to War Crimes and Crimes Against Humanity was adopted and opened for
19          signature, ratification and accession by United Nations General Assembly resolution
20          2391 (XXIII) of 26 November 1968. Pursuant to the provisions of its Article VIII (90
21          days following the deposit of the tenth ratification), it came into force on 11 November
22          1970.

23

24      117.         The Convention provides that no signatory state may apply statutory
25          limitations to:

26          •   War crimes as they are defined in the Charter of the Nürnberg International Military

27              Tribunal of 8 August 1945.

28
                                                                                                          62
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 63 of 126



 1              Crimes against humanity, whether committed in time of war or in time of peace, as
 2              defined in the Charter of the Nürnberg International Military Tribunal, eviction by
 3              armed attack or occupation, inhuman acts resulting from the policy of apartheid, and
 4              the crime of genocide as defined in the 1948 Convention on the Prevention and
 5
                Punishment of the Crime of Genocide
 6

 7
        118.        The conduct of the defendants and each of them constitutes war crimes and
 8          violations of war crimes treaties also specified above.
 9

10      119.        The conduct of defendants and each of them further constitute violation of treaties
11          created during the process of ending the Vietnam War during 1973 to 1974, and as
12          specified above. The peace treaties included a general ceasefire, a stoppage of all war
13          activity, and an end to the war. The peace treaties called for democratic elections in Laos.
14          Instead of doing democratic elections, the Lao People Democratic Republic installed a
15          communist system without any kind of election concept at all, which was based on the

16          typical communist programs where their leaders are appointed for life to rule the country

17          as a dictator. This was what was done in Laos, and as was also done elsewhere in

18          Vietnam, North Korea, the Soviet Union, and China.

19

20      120.        The peace treaty sought to protect the Lao Hmong people and the Lao people as

21          well. The defendants openly violated the material aspects of those peace treaties by
            rounding up all Laos intellectuals and royals, and putting them into concentration camps
22
            [or prisons, as they really are], which they euphemistically referred to in the Communist
23
            nomenclature as re-education camps. Most members of the royal family, including the
24
            King and Queen of Laos perished in these camps. Some got away and are still alive in
25
            Canada and in France. Many other Lao people died in these reeducation camps. The
26
            Hmong people fled to the jungles, where they were hunted like animals, shot down from
27

28
                                                                                                      63
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 64 of 126



 1          the sky, poisoned with ammunition left behind by the USA government when it left Laos,
 2          which included helicopters, airplanes, and barrels of poison that were dumped down into

 3          the jungles where the Hmong people hid, and destroyed their rivers, forests, and generally

 4          the entire ecosystem of the jungle. Lao soldiers were ordered to undertake a campaign to

 5          go into these jungles find the Hmong people, shoot them on site, rape the girls, torture the

 6          men and women alike, poison the elderly, and basically kill all of them. Estimates in the
            press are that something like over 300,000 Hmong people were killed in this process. The
 7
            campaign is an ongoing genocide in Laos. There are believed to be somewhere around
 8
            3,000 Hmong people still left in these jungles that are still actively being hunted, killed,
 9
            and murdered by the Lao PDR as part and parcel of its campaign to eliminate the Hmong
10
            people.
11

12
        121.          As part and parcel of these atrocities committed by defendants and each of them,
13
            they have also commenced upon a campaign to make sure that the Hmong people can
14
            never have their own homeland. The defendants, and each of them, have taken
15
            affirmative steps, including activities in the territory of the USA to stop the Hmong
16          Homeland effort, and to make sure that the Hmong people never have a place to call
17          home.
18
19      122.          The defendants, and each of their, behavior and conduct in these matters were
20          intentional willful obscene and done with conscious disregard and deliberate indifference
21          to the rights of the plaintiffs herein, as well as all other individuals including the Laos
22          royal family members, Laos nationals, and Hmong peoples’ right to exist peacefully in

23          Laos.

24

25      123.          The behavior and conduct of the defendants and each of them was a substantial

26          factor in causing each of the plaintiffs substantial general damages for the loss of their
            homeland and country land, for the loss of their family members, for the loss of their
27

28
                                                                                                           64
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 65 of 126



 1          right to peacefully stay in Laos, and for the loss of their effort to establish a new Hmong
 2          homeland. Each plaintiff claims damages in the amount of $20 million US dollars for a

 3          total of $80 million US dollars against each of the defendants herein, or such other

 4          amount of damages as is according to proof.

 5

 6      124.        Plaintiffs further seek and request equitable relief and injunctive relief in the form

 7          of a temporary restraining order, a preliminary injunction, and a permanent injunction

 8          barring the defendants and each of them from taking any further efforts to interfere with
            the Plaintiffs’ program to establish a Hmong Homeland somewhere on this Earth.
 9
            Plaintiffs are still actively seeking a host country to permit such a homeland and are
10
            actively searching in Philippines, Thailand, and in the USA.
11

12
        125.        This injunctive relief requests that the defendants and each of them be barred by
13
            any further conduct to interfere with the program to establish a Hmong homeland, or such
14
            other injunctive relief as a court deems just an appropriate.
15

16
        126.        Plaintiffs further seek injunctive relief in the form of an order requiring the last
17
            government and defendants named herein to abide by the peace treaties and hold
18
            democratic elections as they agreed to in the peace treaties.
19

20
        127.        This injunctive relief requests further orders requiring the Laos government and
21
            the defendants named herein to cease and desist from any further war crimes against the
22
            Hmong people, including the genocide of the Hmong people; the rape, torture, and
23
            murder of the Hmong people; the destruction of the jungle where the Hmong people are
24          currently hiding out in; and other crimes according to proof committed by the defendants
25          herein. This conduct is ongoing, and is expected to be continued until every single
26          Hmong person having direct or family involvement in the USA CIA’s secret war in Laos
27          is wiped off the face of the Earth.
28
                                                                                                           65
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 66 of 126



 1      128.        Plaintiffs have suffered and will continue to suffer irreparable harm in the form of
 2          losing their homes property and life in Laos, and due to the interference with the

 3          plaintiffs’ efforts to establish a Hmong homeland, and other irreparable harms for which

 4          plaintiffs are without an adequate remedy at law.

 5

 6      129.        Plaintiffs further seek such other injunctive relief as the court deems just and

 7          appropriate.

 8
        130.        Plaintiffs seek further equitable relief in the form of an accounting to determine
 9
            appropriate restitution amounts that the defendants should be required to pay over to the
10
            plaintiffs as a result of the defendants taking over the plaintiffs’ lands, property, and
11
            holdings and using those lands property and holdings for their own purposes to the
12
            detriment and loss of each of the plaintiffs. The amount of restitution claimed herein is
13
            not known to the plaintiffs, but is believed to be in excess of $1 million each, and is
14
            requested in an amount according to proof.
15

16
        131.        Plaintiffs by this action also requires such other further equitable, restitutionary,
17
            and other provisional remedies as the Court deems just and appropriate.
18
19
        132.        Plaintiffs in each of them for their request exemplary damages against defendants
20
            Lao People’s Democratic Republic; President Thongloun Sisoulithis; Prime Minister
21
            Sonxai Siphandon; Souansavan Vi-gnaket, Minster of Justice; General Chansamone
22          Chanyalath, Minister of Defense; Lieutenant General Vilay Lakhamfong, Minister of
23          Public Security; and Dr. Yang Dao for their willful, oppressive, fraudulent, obscene, and
24          conscious disregard and deliberate indifference to plaintiffs rights, in an amount
25          according to proof and commensurate and proportionate with whatever level of
26          compensatory damages are awarded against the defendants, and in the approximate
27          amount of $20 million for each plaintiff against each defendant named herein.

28
                                                                                                            66
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 67 of 126



 1      133.        Plaintiffs and each of them further seek declaratory relief in the form of an order
 2          by the Court declaring that the defendants’ behavior and conduct as discussed in this

 3          complaint was actually and factually committed by the defendants, and that such

 4          behavior violates the Alien Tort Claims Act, that such behavior is continuing in nature

 5          and is expected to continue into the reasonably foreseeable future, that the plaintiffs will

 6          be irreparably harmed by such behavior and that unless until injunctive relief is given the
            plaintiff's will continue to suffer irreparable harm, and such other declaratory orders and
 7
            relief as the court deems just and appropriate.
 8

 9

10
                                                 VI.
11                                        PRAYER FOR RELIEF

12
     Wherefore Plaintiffs Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang pray for relief as
13
     follows:
14
        1. For a judgment in each of plaintiffs Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang’s
15          favor and against each of the named defendants Lao People’s Democratic Republic;
16          President Thongloun Sisoulithis; Prime Minister Sonxai Siphandon; Souansavan Vi-
17          gnaket, Minster of Justice; General Chansamone Chanyalath, Minister of Defense;
18          Lieutenant General Vilay Lakhamfong, Minister of Public Security; and Dr. Yang Dao
19          adjudging the defendants in each of them to be liable to plaintiffs for violation of the

20          alien toward claims act, 28 U.S.C section 1350, for the commission of the intentional

21          torts discussed and described above, and that each of the plaintiffs shall be awarded

22          compensatory damages as requested above in the amount of $20 million for each plaintiff

23          for a total of $80 million US dollars against each and all defendants jointly and severely,
            or in such other amounts according to proof.
24

25
        2. For injunctive relief as requested above or such other injunctive relief as the Court deems
26
27          just and appropriate.

28
                                                                                                       67
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 68 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 69 of 126
           Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 70 of 126


                                            LIST OF EXHIBITS
 1

 2 Exhibit A: United States CIA report on the Lao People's Democratic Republic

 3 Exhibit B: Submission of statements by the United States Attorney for the Eastern District of
   California regarding its reasons for dismissing the criminal case against general Pao and other
 4
   Hmong defendants (not Plaintiffs herein) that admit a host of lies were used in that case. These
 5 statements are made to support Plaintiffs’ contentions and allegations that the Laos government
   does operate a spy network in the territory of the United States and in the Eastern District of
 6 California to spy on Hmong people and to falsely report peaceful activities as being criminal
   activities leading to false prosecutions and a dismissal.
 7
   Exhibit C: Excerpts of Appellants’ Openign Brief in Vang et al. v. Decker et al., Ninth Circuit
 8
   Court of Appeals Case No. 16-15443
 9
   Exhibit D: Declaration of Cher Pao Xiong describing how he was not a victim of Seng Xiong’s
10 mission to create a Hmong homeland/country

11 Exhibit E: Declaration of Pao Xiong describing how he had not received back his entire

12 contribution to the Hmong homeland mission as restitution resulting from Seng Xiong’s criminal
   case
13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                                                                                     70
     Xiong et al. v. Laos et al.
     COMPLAINT FOR DAMAGES UNDER THE ALIEN TORT CLAIMS ACT; INJUNCTIVE RELIEF; DECLARATORY RELIEF;
     ATTORNEYS FEES; REQUEST FOR JURY TRIAL
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 71 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 72 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 73 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 74 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 75 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 76 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 77 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 78 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 79 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 80 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 81 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 82 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 83 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 84 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 85 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 86 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 87 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 88 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 89 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 90 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 91 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 92 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 93 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 94 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 95 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 96 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 97 of 126
          Case
           Case2:23-cv-02531-DJC-DB
                2:12-cv-01226-MCE-AC Document
                                      Document1 49Filed
                                                     Filed
                                                        11/02/23
                                                           09/03/15Page
                                                                     Page
                                                                        98 1ofof126
                                                                                 6


 1 LORETTA E. LYNCH
   United States Attorney General
 2 BRIAN J. STRETCH (CSBN 163973)
   Acting United States Attorney
 3 ALEX G. TSE (CSBN 152348)
   Chief, Civil Division
 4 REBECCA A. FALK (CSBN 226798)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7022
 7        FAX: (415) 436-6748
          rebecca.falk@usdoj.gov
 8
   Attorneys for Federal Defendant
 9 UNITED STATES OF AMERICA
   AND STEVEN DECKER
10

11

12                               UNITED STATES DISTRICT COURT

13                              EASTERN DISTRICT OF CALIFORNIA

14

15   NHIA KAO VANG, CHAO XIONG, DAVID ) CASE NO. C 12-1226 MCE-EFB
     VANG, CHONG YANG, CHUE HUE VANG, )
16   PANG HER,                        ) FEDERAL DEFENDANT’S RESPONSE TO
                                      ) COURT ORDER FOR BRIEFING (DKT. NO. 48)
17        Plaintiffs,                 )
                                      )
18     v.                             )
                                      )
19   STEVEN DECKER et al,             )
                                      )
20        Defendant.                  )
                                      )
21

22

23

24

25

26

27

28

     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                       1
     12-01226 MCE-EFB
           Case
            Case2:23-cv-02531-DJC-DB
                 2:12-cv-01226-MCE-AC Document
                                       Document1 49Filed
                                                      Filed
                                                         11/02/23
                                                            09/03/15Page
                                                                      Page
                                                                         99 2ofof126
                                                                                  6


 1 I.       INTRODUCTION

 2          The Ninth Circuit affirmed this Court’s dismissal with prejudice of all claims and federal

 3 defendants in this action except malicious prosecution. Vang v. Decker, 607 Fed.Appx. 728 (9th Cir.

 4 2015). Plaintiffs’ case now consists only of a malicious prosecution claim against the United States

 5 pursuant to the Federal Tort Claims Act and against Special Agent Steven Decker pursuant to Bivens v.

 6 Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).1 On August 20,

 7 2015, this Court, pursuant to the Ninth Circuit’s instructions on remand, ordered Defendants to address

 8 whether the charges in the underlying criminal prosecution, United States v. Harrison Jack, et al, E.D.

 9 Cal., Case No. CR 07-266 FCD (“Jack”), were withdrawn on the basis of a compromise among the

10 parties or for a cause that was not inconsistent with Plaintiffs’ guilt.2 Dkt. No. 48.

11          As demonstrated in the accompanying declaration of United States Attorney Benjamin B.

12 Wagner (“Wagner Decl.”), despite probable cause and evidence that Nhia Kao Vang, David Vang and

13 Chue Hue Vang (the “Vang Plaintiffs”) 3 committed the remaining crimes with which they were

14 charged, the United States dismissed the Jack prosecution based on factors unrelated to the merits.

15 Through its rulings and comments, the court revealed a remarkable hostility to the government’s case.

16 See Wagner Decl., ¶ 4. The criminal defendants also alleged agent and prosecutorial misconduct,

17 raising a risk of a negative credibility finding and suppression of evidence. See id. at ¶ 5-6. Going

18 forward, the case would require a significant number of personnel, trial would be fiercely contested and

19 any sentences imposed would likely be low. See id. at ¶ 7-8. As a result, U.S. Attorney Wagner

20 weighed the costs and benefits of pursuing the case, and determined that no substantial federal interest

21 was served by continued prosecution. See id.at ¶ 3, 9. None of these reasons for dismissal, however, are

22 inconsistent with the guilt of the Vang Plaintiffs. Accordingly, Plaintiffs cannot maintain a claim for

23 malicious prosecution.

24          ///

25

26          1
             This Court deferred ruling on Agent Decker’s entitlement to qualified immunity. Dkts. No. 32;
27 38 at 15, n. 5. If necessary, he will raise this issue in a noticed motion.
           2
             On April 8, 2013, this Court took judicial notice of the Jack docket. See Dkt. No. 32-2; 38.
28         3
             Plaintiffs Chao Xiong, Chong Yang and Pang Her were never prosecuted in the Jack case.
     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                                      2
     12-01226 MCE-EFB
          Case
           Case2:23-cv-02531-DJC-DB
                 2:12-cv-01226-MCE-ACDocument
                                      Document1 49
                                                 Filed
                                                     Filed
                                                       11/02/23
                                                           09/03/15
                                                                  Page
                                                                     Page
                                                                       1003ofof126
                                                                                6


 1 II.      ARGUMENT

 2          A.      Dismissal of the Jack Prosecution Was Not Inconsistent With Guilt

 3          In June, 2007, the United States charged 11 individuals, including the Vang Plaintiffs, with

 4 numerous counts arising from an alleged conspiracy to overthrow the government of Laos. Cr. Dkt. No.

 5 3. A First Superseding Indictment was filed in 2009, after which General Vang Pao was dismissed, and

 6 a Second Superseding Indictment followed in June, 2010. Id. at 460, 464, 578.

 7          In December, 2010, after three years of litigation, U.S. Attorney Wagner recommended dismissal

 8 of the Jack prosecution to the United States Department of Justice’s National Security Division (“NSD”)

 9 because, given the circumstances, no substantial federal interest would be served by continued

10 prosecution. See Declaration of Benjamin B. Wagner (“Wagner Decl.”), ¶ 3. U.S. Attorney Wagner

11 made this recommendation, as a discretionary matter, for a combination reasons, including the

12 following. Id.

13          First, the court made a series of adverse rulings, vigorously opposed by the United States,

14 suggesting it was markedly hostile to the government’s case. See Wagner Decl., ¶ 4. At the same time,

15 the court gave defendants extraordinary leeway in litigating the case. Id. During a status conference on

16 February 23, 2009, counsel for the defendants alleged that the government had engaged in outrageous

17 conduct, and asked the court to recommend that the Attorney General review the case. Id. at ¶ 4a. The

18 court did so based on the representations of defense counsel alone, and over the government’s strenuous

19 objections. Id. During oral argument on October 15, 2010, on the question of whether the various

20 charges, as pled, stated claims for relief, the court suggested that the government had “orchestrated” the

21 coup plot. Id. at ¶ 4b.

22          On November 12, 2010, the court dismissed without prejudice over one-half of the government’s

23 charging theories. Id. at ¶ 4c, Cr. Dkt No. 671. The court held that the Second Superseding Indictment

24 failed “to put each defendant on notice of the nature of charges against him,” and further failed to notify

25 each defendant of “the specific conduct he engaged in that allegedly violates the [Neutrality] Act." Cr.

26 Dkt No. 671. The court dismissed three conspiracies charged in Count One (to transfer machine guns,

27 receive/possess destructive devices and export listed defense items), Count Four (conspiracy to transfer

28 explosives) and Count Five (Neutrality Act violation). Id. The remaining charges were: Count One

     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                                       3
     12-01226 MCE-EFB
          Case
           Case2:23-cv-02531-DJC-DB
                 2:12-cv-01226-MCE-ACDocument
                                      Document1 49
                                                 Filed
                                                     Filed
                                                       11/02/23
                                                           09/03/15
                                                                  Page
                                                                     Page
                                                                       1014ofof126
                                                                                6


 1 (conspiracy to violate the Neutrality Act), Count Two (conspiracy to commit murder and damage

 2 property abroad), and Count Three (conspiracy to receive and possess Stinger missiles). Id.

 3          The court also scheduled up to two weeks of evidentiary hearings, commencing in late February,

 4 2011, as to the defendants’ motions to: (1) Suppress Fruits of Illegal Wiretaps; (2) Dismiss for

 5 Outrageous Government Conduct; (3) Suppress Evidence Obtained Pursuant to Execution of Search

 6 Warrants; and (4) Suppress Evidence Gathered as a Result of False Affidavits Supporting Search

 7 Warrants. Wagner Decl. at ¶ 4d; see also Cr. Dkt. No. 614, 615. The government opposed each motion

 8 and strenuously objected to this Franks hearing because the criminal defendants failed to make the

 9 requisite preliminary showing. Id., see also Cr. Dkt. No. 606. The criminal defendants alleged well

10 over one-hundred Franks violations as well as outrageous conduct by the undercover agent, other

11 affiants and prosecutors. Id. The court granted the defendants’ request for an evidentiary hearing on all

12 violations, even though many were unsubstantiated and/or wholly immaterial, and refused the

13 government’s repeated requests to limit the hearing to only those claims for which a preliminary Franks

14 showing was made. Id. The hearings would have required the testimony of several law enforcement

15 personnel, one current and one former prosecutor. Id.

16          Second, the criminal defendants alleged the wiretap, search warrant and complaint affidavits

17 submitted by the undercover agent contained incriminating statements falsely attributed to former

18 defendant General Vang Pao, and failed to disclose certain facts. See Wagner Decl., ¶ 5. Although

19 U.S. Attorney Wagner believed the agent acted in good faith, he had never testified in a contested court

20 hearing or trial. Id. The upcoming Franks hearing raised the possibility that the agent would be subject

21 to vigorous cross-examination regarding his alleged errors, the criminal defendants would suggest he

22 was unreliable among other things, and the court would enter a negative credibility finding, especially

23 given its previous expressed views about the case. Id. Because this agent was a critical prosecution

24 witness, such a finding would be damaging beyond its impact on the pretrial motions. Id.

25          Third, the criminal defendants alleged that the prosecutors engaged in misconduct. See Wagner

26 Decl. at ¶ 6. Although U.S. Attorney Wagner believed that all personnel acted in good faith, prosecutors

27 and agents inadvertently committed a technical violation of the 60-day search warrant deadline relating

28 to computer searches. Id. This inadvertent error created a risk of suppression. Id.

     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                                       4
     12-01226 MCE-EFB
          Case
           Case2:23-cv-02531-DJC-DB
                 2:12-cv-01226-MCE-ACDocument
                                      Document1 49
                                                 Filed
                                                     Filed
                                                       11/02/23
                                                           09/03/15
                                                                  Page
                                                                     Page
                                                                       1025ofof126
                                                                                6


 1          Fourth, the United States faced a fiercely contested trial and considerable litigation on

 2 evidentiary issues. See Wagner Decl. at ¶ 7.

 3          Fifth, even if the United States prevailed, the court was likely to impose minimal sentences. See

 4 Wagner Decl. at ¶ 8.

 5          Finally, taking all of these factors into consideration. U.S. Attorney Wagner performed a

 6 cost/benefit analysis. See Wagner Decl. at ¶ 9. The Jack prosecution required the dedicated efforts of

 7 three AUSAs, including one who was in a supervisory role, two trial attorneys from NSD and a number

 8 of agents and translators. Id. It would likely continue to require this level of resources for years to

 9 come. Id. U.S. Attorney Wagner determined that the benefits of further prosecution were outweighed

10 by the costs and risks. Id.

11          On January 10, 2011, the government moved "to dismiss the counts in the indictment, first

12 superseding indictment and second superseding indictment as against all defendants, in the interests of

13 justice." Cr. Dkt No. 687, 688. The court granted the motion on the same day, dismissing all counts and

14 closing the criminal case. Id., see also Wagner Decl. at ¶ 10.

15          B.      Plaintiffs Cannot Maintain a Malicious Prosecution Action

16          Plaintiffs cannot maintain a malicious prosecution action because the Jack prosecution was

17 dismissed for reasons not inconsistent with the Vang Plaintiffs’ guilt. Under California law, an action

18 for malicious prosecution requires a plaintiff to establish that “the underlying prosecution: (1) was

19 commenced by or at the direction of the defendant and terminated in [the plaintiff’s] favor; (2) was

20 brought without probable cause; and (3) was initiated with malice.” Conrad v. United States, 447 F.3d

21 760, 767 (9th Cir. 2006) (quoting Sheldon Appel Co. v. Albert & Oliker, 47 Cal. 3d 863 (1989)). An

22 action for malicious prosecution under Bivens requires the plaintiff to show tortious conduct under the

23 elements of state law, and the intent to deprive the individual of a constitutional right. Awabdy, 368

24 F.3d at 1066.

25          To establish that the prosecution terminated in his favor, a plaintiff must “generally establish that

26 the prior proceedings terminated in such a manner as to indicate his innocence.” Awabdy, 368 F.3d at

27 1068. If, however, a dismissal is based “on technical grounds, for procedural reasons, or for any reason

28 not inconsistent with his guilt, it does not constitute a favorable termination.” Jaffe v. Stone, 18 Cal.2d

     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                                         5
     12-01226 MCE-EFB
            Case
             Case2:23-cv-02531-DJC-DB
                   2:12-cv-01226-MCE-ACDocument
                                        Document1 49
                                                   Filed
                                                       Filed
                                                         11/02/23
                                                             09/03/15
                                                                    Page
                                                                       Page
                                                                         1036ofof126
                                                                                  6


 1 146, 150 (1941). Whether there was a favorable termination is a legal issue for the court to decide. See

 2 Sierra Club Found. v. Graham, 72 Cal. App. 4th 1135, 1149 (1999).

 3           A dismissal in the interests of justice can be construed as a favorable termination if “it reflects

 4 the opinion of the prosecuting party or the court that the action lacked merit or would result in a decision

 5 in favor of the defendant.” Awabdy, 368 F.3d at 1068. Further,

 6              [w]hen such a dismissal is procured as the result of a motion by the prosecutor
                and there are allegations that the prior proceedings were instituted as the result
 7              of fraudulent conduct, a malicious prosecution plaintiff is not precluded from
                maintaining his action unless the defendants can establish that the charges
 8              were withdrawn on the basis of a compromise among the parties or for a
                cause that was not inconsistent with his guilt.
 9
     Id. (emphasis added). The Ninth Circuit held that because Plaintiffs alleged misconduct in the Jack
10
     case, and the United States dismissed Jack “in the interests of justice” instead of refiling the dismissed
11
     counts in an amended or superseding indictment, the burden shifted to Defendants “to show that the
12
     proceedings did not terminate as a result of Plaintiffs’ innocence.” Vang, 607 Fed. Appx. at 729.
13
             As demonstrated by U.S. Attorney Wagner’s declaration, the United Stated did not dismiss the
14
     Jack prosecution because the remaining charges against the Vang Plaintiffs lacked merit. The United
15
     States had evidence that the Vang Plaintiffs had committed the remaining crimes with which they were
16
     charged, and made no compromise to dismiss them. See Wagner Decl., ¶ 11, 12. Instead, it ended the
17
     prosecution because the costs of pursuing the Jack case outweighed the benefits. Id. at ¶ 3-9, see also
18
     Deal v. Alegre, 2006 WL 436144 at *4 (N.D. Cal. Feb. 21, 2006) (a dismissal in the interests of justice
19
     was not inconsistent with guilt where an essential witness was unavailable, the accused had served his
20
     sentence and had a prior conviction). Accordingly, the dismissal was not inconsistent with the Vang
21
     Plaintiffs’ guilt, and as a result, Plaintiffs cannot maintain a malicious prosecution action.
22
     III.    CONCLUSION
23
             For the foregoing reasons, Defendants respectfully request that this Court hold that the Jack case
24
     was dismissed for reasons that were not inconsistent with the Vang Plaintiffs’ guilt.
25
     DATED: September 3, 2015                       BRIAN J. STRETCH
26                                                  United States Attorney
27                                                  By:       /s/ Rebecca A. Falk
28                                                  REBECCA A. FALK
                                                    Assistant United States Attorney
     FEDERAL DEFENDANTS RESPONSE TO DKT. NO. 48                                                           6
     12-01226 MCE-EFB
Case
Case2:23-cv-02531-DJC-DB
     2:12-cv-01226-MCE-AC Document
                           Document149-1
                                      FiledFiled
                                            11/02/23
                                                 09/03/15
                                                       PagePage
                                                            104 of
                                                                1 of
                                                                   126
                                                                     4
Case
Case2:23-cv-02531-DJC-DB
     2:12-cv-01226-MCE-AC Document
                           Document149-1
                                      FiledFiled
                                            11/02/23
                                                 09/03/15
                                                       PagePage
                                                            105 of
                                                                2 of
                                                                   126
                                                                     4
Case
Case2:23-cv-02531-DJC-DB
     2:12-cv-01226-MCE-AC Document
                           Document149-1
                                      FiledFiled
                                            11/02/23
                                                 09/03/15
                                                       PagePage
                                                            106 of
                                                                3 of
                                                                   126
                                                                     4
Case
Case2:23-cv-02531-DJC-DB
     2:12-cv-01226-MCE-AC Document
                           Document149-1
                                      FiledFiled
                                            11/02/23
                                                 09/03/15
                                                       PagePage
                                                            107 of
                                                                4 of
                                                                   126
                                                                     4
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 108 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 109 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 110 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 111 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 112 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 113 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 114 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 115 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 116 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 117 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 118 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 119 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 120 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 121 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 122 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 123 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 124 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 125 of 126
Case 2:23-cv-02531-DJC-DB Document 1 Filed 11/02/23 Page 126 of 126
